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                         EXHIBIT C
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The District Court                                                                      Civil File 38433-01-19
of Tel Aviv-Yafo                                                         Before the honorable Justice O. Maor

In the matter of:        Cortica Ltd.
                         By counsel Advocates Dr. Gilad Wekselman or Uriel Mozes or Eddie Levdansky et al
                         Herzog, Fox, Neeman & Co., Advocates
                         Asia House, 4 Weizmann Street, Tel Aviv - Yafo 6423904
                         Tel: XX-XXXXXXX; Fax XX-XXXXXXX
                                                                                           The Counter Plaintiff
                                    - Versus -

                          1.     eNitiatives IP Ltd.
                          By counsel Advocates Jeremy Benjamin or Danny Dilbary or Tom Gal et al
                          Goldfarb Seligman & Co., Advocates
                          98 Yigal Alon Street, Ampa Tower, Tel Aviv - Yafo 4789141
                          Tel.: XX-XXXXXXX; Fax: 03-61031111.
                                                                                      The Counter Defendant 1


                          2.   M&B IP Analysts Limited Liability Company
                          A company incorporated under the laws of the State of New Jersey, USA
                          Entity ID: 0400634843
                          500 Headquarters Plaza, West Tower 7th floor
                          Morristown NJ 07960-7070, United States of America
                          Tel: +19082743111; Fax: +19082743113
                                                                                      The Counter Defendant 2


Nature of the claim: Contractual, tortious, pecuniary, unjust enrichment
Amount of the claim: ILS 20,000,000, for filing fee purposes.


                                   Statement of Counterclaim
Pursuant to Regulations 52 and 53(a) of the Civil Procedure Regulations, 5744-1984 (hereinafter: the
“Regulations”), the Counter Plaintiff, Cortica Ltd. (hereinafter: “Cortica”), the defendant in Civil File 38433-
01-19, hereby files a counterclaim to the honorable Court against eNitiatives IP Ltd. (hereinafter: “eNitiatives”),
the plaintiff in Civil File 38433-01-19.

In the framework of the Statement of Counterclaim, Cortica also brings action against the Counter Defendant
2, M&B IP Analysts Limited Liability Company (hereinafter: “M&B”), this pursuant to Regulation 54 of the
Regulations. eNitiatives and M&B shall jointly be referred to as the “Defendants”.
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On the basis of that set forth below, the honorable Court is requested to dismiss the claim filed by eNitiatives,
to accept the Counterclaim, and to charge the Defendants to jointly and severally pay Cortica an amount of ILS
20,000,000. Additionally, the honorable Court is requested to charge the Defendants with Cortica’s costs,
including attorney fees.

All emphases in the document have been added by the undersigned unless explicitly stated otherwise.

A. Introduction
1.       This Claim revolves around most severe acts performed by the Defendants against Cortica, while
         breaching duties of fidelity, care, fairness and loyalty imposed on them. Over the duration of a decade
         (from 2008 until March 2018) the Counter Defendant 1, eNitiatives, purported to provide Cortica with
         patent registration services for more than 170 patent applications and ancillary services, while being
         assisted (since 2014) by the Counter Defendant 2, M&B.1

2.       In consideration for these services, Cortica paid the Defendants a total amount of approximately USD
         2,000,000 (!), in addition to options issued to eNitiatives to acquire Cortica shares. These are exorbitant
         amounts relative to the scope of services provided to Cortica and relative to customary amounts, most
         certainly when it has emerged post factum that the services that were rendered did not justify this scope
         of payment, or any amount close to such.

3.       The longstanding relationship between the parties was based on the trust that Cortica placed in the
         Defendants - notwithstanding the fact that Cortica’s primary asset (a start-up company in the area of
         artificial intelligence) was its intellectual property, Cortica did not know how to protect this asset, and it
         relied on the Defendants. Cortica engaged eNitiatives for this purpose - which was supposed to advise
         Cortica on its intellectual property strategy, including recommending the number of patent applications
         to file and their form, based on the technological development of Cortica’s products, with M&B acting
         as eNitiatives “arm” to file patent applications in the US. As described hereunder, the Defendants were
         blatantly negligent and flagrantly breached such trust by acting for their own good at the expense
         of the nature and quality of the services provided to Cortica.

4.       During 2017, the Defendants sent Cortica inflated invoices for staggering amounts totaling tens of
         thousands of dollars per month (there was even one month of more than USD 100,000 !), this in deviation
         from the undertaking made with respect to the annual budget required to protect Cortica’s intellectual
         property. Concurrently, Cortica felt that the Defendants were not involving it in the registration processes
         and in material decisions related thereto, which gave rise to doubts and suspicion at Cortica with respect
         to those inflated invoices, as well as with respect to the nature of the applications and responses filed and
         the need for them.


1
    Prior to 2014, the year in which M&B commenced providing services relating to Cortica’s intellectual property,
     eNitiatives was assisted by the law firm Myers Wollin LLC (hereinafter “MW”). It should be noted that any reference
     made to M&B should also be deemed referring to MW, insofar as the reference relates to services provided to Cortica
     until the date on which M&B replaced MW in providing services to Cortica, in 2014.
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5.   In view of these doubts and suspicions, Cortica asked to clarify the meaning of these exorbitant charges
     and the manner that its intellectual property was being handled. Accordingly, Cortica engaged an external
     advisor in the patent sector who examined whether the filed patent applications and the patents obtained
     in such respect were necessary, as well as the nature and quality of such applications and patents.

6.   This examination uncovered most serious findings. In reality, it emerged that throughout the duration
     of the entire period and particularly in recent years, the Defendants exploited Cortica, literally,
     unlawfully enriched themselves at Cortica’s expense, systematically deceived it, and caused it great
     damage through negligent and blatantly unprofessional conduct in the framework of the services.

7.   As shall be described below, eNitiatives worked with a fee structure model based on "milestones". This
     model created a conflict of interest between Cortica’s interests to receive protection that is as broad and
     long-term as possible for the technology it developed, and eNitiatives’ financial interest to charge fees as
     high as possible. M&B also had an interest in filing as many patent applications as possible in order to
     charge fees for such. It became clear to Cortica that the Defendants had succumbed to temptation, and
     acted in complete contrast to Cortica’s interest as a client, in order to inflate the fees they could charge
     Cortica. For example:

     7.1.   The Defendants adopted a “copy-and-paste” method in drafting most of Cortica’s patent
            applications and even negligently filed approximately 70% of Cortica’s US patent applications
            (114 patent applications) as CIP (Continuation-in-Part) applications and thereby severely
            harmed the scope and duration of protection granted for the patents. As a result thereof, a
            significant number of the patents are entitled to less than 10 years of protection,
            notwithstanding that some of them could have enjoyed a period of protection of
            approximately 20 years;

            This bizarre practice is irregular and derived solely from such built-in conflict of interest - in this
            manner the Defendants were able to avoid much work in preparing independent patent applications.
            Furthermore, the Defendants knew that by filing CIP applications they increase the likelihood that
            the applications would be examined relatively quickly. In this manner, the Defendants ensured that
            they would quickly and easily achieve the milestones, and charge as high fees as possible in
            consideration for as little work as possible;

     7.2.   The Defendants filed dozens of patent applications, while artificially splitting them into separate
            applications, in order to increase their revenues through increasing the number of applications and
            thereby achieve more milestones, all the while that it was possible to submit them in a consolidated
            manner and reduce Cortica’s costs.

8.   The Defendants, who were meant to protect, advise, maintain, file and handle Cortica’s intellectual
     property, acted negligently vis-a-vis Cortica’s patent applications and everything entailed therein:

     8.1.   Especially in the last few years, the Defendants did not consult, did not present the full picture, did
            not explain, and, by and large, did not involve Cortica in the registration processes and in major
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             decisions regarding its portfolio of patents, while breaching ethical duties, fiduciary duties, and
             professional duties. All this was done on a plethora of issues, such as responding to USPTO office
             actions, filing patent applications, extension applications, abandoning and reducing patent claims,
             in one extreme case they even abandoned a patent application, and in another case they failed
             to convert a provisional patent application to a regular patent application - such that the provisional
             patent application expired without a regular patent application being filed that would benefit from
             the priority date granted to the provisional application, while causing significant harm to Cortica.
             All the aforementioned - without receiving Cortica’s approval;

      8.2.   The Defendants failed to warn of any problems, did not propose plans of action and did not properly
             handle all patent applications, and did not perform what was required of them with respect to the
             manner of formulating patent applications;

      8.3.   The Defendants failed to implement significant changes necessitated by new case-law handed
             down by the US Supreme Court as well as various rulings and decisions of the USPTO regarding
             software patents, which caused many office actions for various patent applications, some of which
             were difficult and even impossible to overcome (in light of the amateur and negligent drafting of
             the patent applications). This negligence forced Cortica to deal with the office actions (fees for
             responding to these office actions were charged in full). Additionally, at least some of Cortica’s
             patents became unenforceable and/or exposed to cancellation proceedings and/or indirect challenge
             through infringement claims. This is aside from the fact that the Defendants exposed Cortica’s new
             ideas which were meant to be defensible, had they been properly drafted in the filed patent
             applications;

      8.4.   the Defendants drafted some of the patent applications in a manner that was negligent and
             grossly unprofessional whereby it is impossible to understand what technology is protected by
             the patents - which also exposes these patents to cancellation proceedings and indirect challenges;

      8.5.   eNitiatives presented itself, inter alia, as an expert in developing protection strategies, appraising
             and commercializing inventions, however, in reality eNitiatives and M&B failed tremendously in
             developing such strategy. Even the appraisals that were made emerged as being inflated due to the
             negligent conduct, as set forth above and in great detail hereunder, including with respect to the
             incorrect development of the patent portfolio, in such a manner that made its commercialization
             challenging.

9.    It should be noted that the negligent omissions and acts described above, caused Cortica severe damage
      estimated at tens of millions of shekels, at least.

10.   Furthermore, as Cortica only learned post factum, the Defendants breached the fiduciary duties owed
      to Cortica when (1) they intentionally concealed from Cortica, over many years, the fact that more than
      70% of its patent portfolio is comprised of CIP applications, as well as the meaning of filing patent
      applications in this manner (a shorter defensible period for the patents). eNitiatives also tried to continue
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      to conceal this when it was explicitly asked about such; (2) eNitiatives intentionally misled Cortica,
      when executing the most current and recent agreement between the parties (2016), in such a manner
      which supposedly grants it additional rights beyond those granted to it under previous agreements,
      notwithstanding the parties’ consent whereby the 2016 agreement would reflect the previous agreements.
      On the basis of clauses achieved through real deception, eNitiatives is now claiming significant amounts
      of money from Cortica, in the framework of the principal claim.

11.   Another issue of no less importance, in which the Defendants also breached their fiduciary duties owed
      to Cortica, is that in a significant part of the time during the course of the parties’ relationship, no
      eNitiatives person was authorized to provide legal advisement and services, and even M&B’s
      manager, Mr. Michael Ben-Shimon (hereinafter: “Mr. Ben-Shimon”), who worked opposite Cortica over
      the years (first as an employee of MW and then as manager of M&B) - only qualified as a patent agent
      in 2012. Notwithstanding the aforementioned, the Defendants misled Cortica when they purported to
      provide it with legal advisement and services. It should be noted that such severe act explains, to a certain
      extent, the severe degree of negligence and unprofessional conduct related to the provided services.

12.   Furthermore, eNitiatives’ fee model and the manner that it was formulated was meant to blur the fact that
      no eNitiatives’ person was qualified, as aforementioned, as well as the fact that Cortica would be
      “double” charged for the same exact work - once by eNitiatives and a second time by M&B. For
      example, in various instances a particular patent application was only drafted by eNitiatives or only by
      M&B; however, Cortica was charged as if M&B and eNitiatives drafted the application “from scratch”.

13.   It emerged that, over the years, Cortica was charged inflated, double, and unnecessary fees
      amounting to hundreds of thousands of dollars for the services promised to it. Rather than saving
      costs as presented and promised to it, Cortica paid increased and double fees rather than making one
      payment to one party. It should be emphasized that a significant share of the Defendants’ actions,
      constitute a series of severe breaches of the ethical duties which apply to attorneys and patent agents.

14.   Once Cortica understood that it had been deceived over many years by professionals whom it had trusted,
      and who were supposed to protect its most important asset - Cortica’s intellectual property, it announced
      the termination of its engagement with eNitiatives (and as a corollary to such also with M&B which
      operated through eNitiatives as aforementioned), and refused to pay them any payments whatsoever for
      the “professional” service provided to it.

15.   Since the services provided to Cortica were of poor , negligent and amateur quality, while clearly
      preferring the Defendants’ interests over those of Cortica, Cortica is bringing action against the
      Defendants to repay all amounts paid to them over the years, in their different capacities -
      approximately USD 2 million. Furthermore, Cortica is bringing action against the Defendants to
      compensate it for the damages caused by the Defendants to its intellectual property which Cortica
      estimates (conservatively) at approximately USD 19 million.
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B. The parties relevant to the dispute
B.1 Cortica
16.   Cortica is one of the leading and most advanced companies in the world in the field of artificial
      intelligence. Cortica was established in 2007 as a startup, and since has developed unique platforms that
      are able to “learn” reality and autonomously create insights and operations for computerized systems.
      Currently, Cortica’s primary operations are focused on the smart-city and autonomous vehicle sector.

      Cortica’s extract from the Registrar of Companies is attached hereto as Annex “1”. Background about
      Cortica taken from Wikipedia and a number of news articles describing its operations are attached hereto
      as Annex “2”.

B.2 eNitiatives
17.   eNitiatives is a company which purports to provide services in the intellectual property sector, including
      developing protection strategies and portfolio development, drafting patent applications, appraising and
      commercializing inventions.

18.   A number of persons relevant to this Claim act within eNitiatives: Mr. Reuven Marko, eNitiatives founder
      and CEO and its controlling shareholder (hereinafter: “Mr. Marko”). Mr. Marko is neither an attorney
      nor a patent agent; Mr. Ophir Marko, Mr. Marko’s son, who qualified as a patent agent in Israel in 2013;
      Mr. Or Agassi, serves as an attorney and director of eNitiatives and who, to Cortica’s best knowledge,
      only started working at eNitiatives in 2011 (hereinafter: “Adv. Agassi”) in the framework of Heskia -
      Hacmun Law Firm (hereinafter: “HH”), within which eNitiatives operated at such time as a kind of patent
      department.

      eNitiatives’ extract from the Registrar of Companies is attached hereto as Annex “3”.

B.3 M&B
19.   To Cortica’s best knowledge, M&B is a company which operates in the patent registration field. M&B
      was established in 2014 by Mr. Ben-Shimon, who to Cortica’s best knowledge was previously employed
      by the US law firm MW, and in the years prior to his employment at MW he was employed by eNitiatives.

20.   Cortica met Mr. Ben-Shimon through Mr. Marko, when, to Cortica’s best knowledge, he was employed
      by MW. eNitiatives provided Cortica with patent registration services in the US commencing from 2008
      through MW when Mr. Ben-Shimon would personally handle Cortica’s patents. Mr. Ben-Shimon
      qualified as a patent agent in the US in 2012, and established M&B in 2014. M&B replaced MW at such
      time and eNitiatives started using it to provide Cortica with the services.

      The search results for M&B from the website of the registrar of companies for the State of New Jersey is
      attached hereto as Annex “4”.
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      A printout from the USPTO website which demonstrates that Mr. Ben-Shimon only qualified as a patent
      agent in 2012 is attached hereto as Annex “5”.

C. The agreements between the parties
C.1 Cortica and eNitiatives
C.1 (I) 2008-2011 - the first agreement

21.   The relationship between the parties commenced in 2008 when Cortica and eNitiatives entered an
      agreement regulating the intellectual property services (including patent registration and intellectual
      property protection strategy) that eNitiatives should provide Cortica (hereinafter: the “2008
      Agreement”).

      The 2008 Agreement (and its amendment) is attached hereto as Annex “6”.

22.   The engagement was made after eNitiatives presented itself as having the knowledge, expertise and
      authority to handle Cortica’s intellectual property, which was then a newly established start-up (2007),
      while eNitiatives represented that it would save Cortica significant patent registration costs through its
      operating method (drafting the applications by itself and being assisted by a US firm).

23.   eNitiatives is the party that drafted the 2008 Agreement, as well as the other agreements (which we shall
      relate to further on), in a “sophisticated” manner, as follows:

24.   Vague description of the services. In order to conceal the fact that we were solely dealing with legal
      services which no person at eNitiatives was authorized to provide (interviews with inventors, drafting
      patent applications, drafting responses to office actions etc.) - in the agreements between the parties the
      services rendered were referred to by vague and bizarre names such as “IP Catalyst Services (IPCS)”,
      “Protection Strategy”, IP Scan and IP Audit processes and reports”, and other completely made-up terms
      were also used, such as “PPD - pseudo patent document” (a euphemism for a draft patent application). It
      should be emphasized in this context that, at such time, Cortica did not know that eNitiatives and Mr.
      Ben-Shimon who at such time was not qualified as a patent agent, lacked the professional qualification
      to provide the services offered by eNitiatives.

25.   Vague description of the fee components and milestones. As shall be demonstrated in Chapter G
      hereunder, in reality, for each and every patent application, Cortica was charged a double payment
      without any justification for the same exact work (drafting a patent application). eNitiatives was
      well aware of this and therefore made sure to also conceal the components of its fees, as follows:

      Charging based on milestones - rather than working under the customary model of hourly charges or
      charges based on work actually performed, eNitiatives chose to charge Cortica based on the “stage” of
      the relevant application, regardless of the amount of time and effort actually invested in a particular job.
      This fee model, while using non-customary terminology, was meant: (1) to differentiate (clearly
      artificially) between the services provided by eNitiatives and the services provided by M&B, in order to
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        conceal the fact that such were the same exact services and to enable a double charge, and (2) as
        aforementioned, to conceal the fact that they were unqualified.

        For example, in the 2008 Agreement, the cash component of the fees (which was vaguely referred to as
        “Cash Compensation” in order to conceal the fact that such were “Professional Fees”) appears as follows:

                  “I. Cash Compensation
                  At each one of the following milestones eNitiatives shall be entitled to the
                  compensation listed below (the “Milestone Fee”):
                  Submission of PPD [pseudo patent document - the undersigned] to patent
                  attorney/agent or provisional (MS 1.0) - $2,000
                  Filing of the patent with a patent office (MS 2.0) - $2,000
                  Allowance if a patent by the respective patent office (MS 3.0) - $3,000”

  26.   The outcome of this process was that Cortica in actual fact paid twice for each patent application, both to
        eNitiatives and also to M&B. As shall be described below, Cortica was forced to pay inflated, exaggerated
        and unnecessary amounts, due to this fee mechanism which is not dependent on the nature or quality of
        the patent applications, or the amount of working time actually invested in every patent application, rather
        only on the volume of applications and the “stage” of each application.

C.1 (II) 2011-2016 - the second agreement - eNitiatives “joins” HH law firm and operates from
         within it

  27.   eNitiatives understood well that it was forbidden under law to provide legal services without being
        appropriately qualified as attorneys or patent agents. Therefore, in 2011, it joined the HH law firm, and
        made sure Cortica execute an agreement built off the 2008 Agreement, only this time with a law firm
        being added as a party, and while eNitiatives rationalizing this by the fact that it had expanded the scope
        of its operations (hereinafter: the “2011 Agreement”).

        The 2011 Agreement is attached hereto as Annex “7”.

  28.   The 2011 Agreement is similar to the 2008 Agreement, however, in order to understand eNitiatives’
        conduct, the special condition in Attachment I to the 2011 Agreement should be noted. Under this clause,
        in the event a need for special consulting with eNitiatives shall arise on a matter regarding an increase in
        the value of the patents, eNitiatives (which was not a party to the 2011 Agreement) shall be allocated, as
        consideration, options in Cortica, in accordance with the milestones.

  29.   It should be emphasized, that in reality the options were allocated to eNitiatives in accordance with each
        milestone for each patent application filed during the term of the 2011 Agreement, exactly like before
        and after such, without any connection to whether eNitiatives’s “expertise” was or was not “required” for
        increasing the value of the inventions, completely contrary to the provisions of the agreement.
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 30.   This indicates that the manner in which this clause was drafted was intended to conceal: (1) the fact that
       eNitiatives provides legal services without qualification; (2) a partnership and/or prohibited distribution
       of profits between HH law firm and a party that is not a law firm (eNitiatives), contrary to the Bar
       Association Rules (Professional Ethics), 5746-1986 (hereinafter: the “Ethics Rules”), and the Bar
       Association Law, 5721-1961 (hereinafter: the “Bar Association Law”).

 31.   On February 28, 2013, and at Cortica’s express request, HH and Cortica executed an amendment to
       the 2011 Agreement, which included an addition to the special condition. Such amendment limited the
       total number of shares eNitiatives shall be able to exercise into options to 0.5% of Cortica’s share capital,
       as follows:

                 “Furthermore, subject to the below acceptance by both Cortica Ltd. and
                 eNitiatives, we agree to have the Letter of Engagement modified so that an
                 overall cap of 0.5% of the outstanding shares of Cortica shall be set for the
                 holding of eNitiatives in Cortica and that the “then known price per share” shall
                 be fixed at US$ 65 per share for any shares not issued to eNitiatives to date, and
                 be in effect until such time that the “known price per share” is determined at a
                 new round of investment into Cortica.”

       The amendment to the 2011 Agreement dated February 28, 2013 is attached hereto as Annex “8”.

 C.1 (III) 2016 agreement - Adv. Agassi intentionally misleads Cortica, his client, when
     executing the agreement

 32.   After Mr. Ophir Marko qualified as a patent agent in Israel, eNitiatives was no longer required to hide
       behind HH law firm, and, apparently as a result of which, decided to separate from it and become
       independent. On December 21, 2015, Adv. Agassi sent Cortica’s CEO, Mr. Igal Raichelgauz, the
       following two agreements for execution: (1) a document terminating the agreement with HH; and (2) a
       new fee agreement, in which eNitiatives again directly engages with Cortica (hereinafter: the “2016
       Agreement”).

       In this email, Adv. Agassi presented the change as a technical issue, and noted that in reality such is the
       same agreement, other than the confidentiality appendix thereto:

                 “…basically follows the text of the previous agreement, but also include[s]a
                 confidential disclosure clause and agreement…”

       On December 27, 2015, Adv. Agassi sent a reminder email, and in such he also noted that they were
       dealing with the same agreement:

                 “Can we please take care of this? The agreement matches our older one besides
                 the change of our entity”
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       The email from Adv. Agassi dated December 21, 2015 with all of its attachments, and the reminder email
       dated December 27, 2015 are attached hereto as Annex “9”.

 33.   However, Adv. Agassi apparently “forgot” to note that there were many and material changes
       between the draft agreement he sent and the 2011 Agreement and its amendment. For example:

       33.1. Adv. Agassi “forgot” to include in the 2016 Agreement the clause that limits the total options
             and/or shares that eNitiatives can accrue to 0.5% of Cortica’s total capital. This,
             notwithstanding, that as aforementioned, this clause was included in a special amendment to the
             2011 Agreement and at Cortica’s explicit request;

       33.2. Adv. Agassi “forgot” to note that the 2016 Agreement includes acceleration in the event of
             termination of the agreement, while in the 2011 Agreement the acceleration only relates to an M&A
             event of Cortica’s assets/shares;

       33.3. Adv. Agassi “forgot” to note that the 2016 Agreement includes a provision whereby the options
             shall only expire in the event of M&A or IPO, while prior to the 2011 Agreement the options
             expired under the conditions of Cortica’s option plan (which allows 90 days to exercise the options
             following the termination of the services - see Chapter C.1 (IV) hereunder for more detail);

       33.4. Adv. Agassi “forgot” the clause that mandates prior approval for expenses exceeding USD 500;

       33.5. Adv. Agassi increased, at his own initiative, the charge for “milestone 3.5” (MS 3.5) from USD
             1,250 to USD 1,500;

       33.6. Adv. Agassi “forgot” to include the IP Audit clause (periodic reports - see Chapter E.5 (II) below)
             in the agreement, which regulates the payment of “Milestone 1.0” (MS 1.0) to once annually.

 34.   Cortica’s CFO, Mr. Asher Avital (hereinafter: “Mr. Avital”), who only joined Cortica that year, noted
       the existence of many discrepancies between the 2011 Agreement and its amendment and the agreement,
       and therefore contacted Adv. Agassi on March 9, 2016, and unequivocally requested that he send an
       amended draft that reflects the previous agreements, as declared by him, while he describes some
       of the differences between the 2011 Agreement and what was sent to him:

                 “Please make sure that all agreements are reflected in the new one. Below are
                 what we have found so far…”

       A copy of Mr. Avital’s email dated March 9, 2016 is attached hereto as Annex “10”.

 35.   The next day, March 10, 2016, Adv. Agassi sent a response, including an amended draft of the 2016
       Agreement.

       A copy of Adv. Agassi’s response email dated March 10, 2016 together with the amended version is
       attached hereto as Annex “11”.
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 36.   In response, on April 5, 2016, Mr. Avital sent another email to Adv. Agassi, in which he made another,
       clear and simple request, that he make sure that this time he include in the agreement the provisions
       that were in the previous agreements:

                   “Please add the section for the cap. And make sure the wording remain as was
                   before.”

 37.   That very day, Adv. Agassi sent a response with another draft. In this email Adv. Agassi gives the
       following response:

                   “Attached with the exact wording as before.”

       The correspondence dated April 5, 2016 is attached hereto as Annex “12”.

 38.   However, this time as well, notwithstanding Adv. Agassi’s explicit confirmation that such draft had the
       exact wording, he only amended the changes noted by Mr. Avital in the email dated March 9, 2016, and
       this too only partially.

 39.   In light of Adv. Agassi’s declaration that such had the exact same wording, Mr. Avital was satisfied, and
       it was inconceivable to him that Adv. Agassi, as someone who represents Cortica and is meant to protect
       its rights - would deceive it once again after being caught red-handed.

 40.   Accordingly, Mr. Avital instructed Ms. Liron Kishoni (hereinafter: “Ms. Kishoni”), who worked under
       him, to quickly review the amended agreement and to execute it. Ms. Kishoni quickly reviewed the draft,
       found one negligible difference and executed it; however, she did not notice the two very significant
       differences remaining between the 2016 Agreement and the 2011 Agreement, which we shall refer
       to below.

       Correspondence between Ms. Kishoni and Adv. Agassi including the 2016 Agreement executed in Mr.
       Avital’s name is attached hereto as Annex “13”.

 C.1 (IV) The outcome of the deception - options exercisable without a limit of time and
      acceleration payments for termination of the agreement

 Options

 41.   Under the previous agreements (2008, 2011), eNitiatives was entitled to an allocation of options to
       acquire Cortica shares once per period (with a right of exercise of up to 0.5% of the value of Cortica’s
       shares), this in accordance with Cortica’s option plan and allocation approval by its board of directors
       (hereinafter: the “Options Plan”), and in accordance with a separate agreement for allocating the options
       that is subject to the options plan and calculated in accordance with milestones in the agreements between
       the parties. The last time Cortica allocated options to eNitiatives was October 15, 2014.
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       Cortica’s Options Plan is attached hereto as Annex “14”. The options allocation agreement between
       Cortica and eNitiatives dated October 15, 2014 is attached hereto as Annex “15”.

 42.   As a party that was exposed to the Options Plan on a number of opportunities prior to executing the 2016
       Agreement, through executing options allocation agreements which refer to the Options Plan and which
       rely on it, as aforementioned - eNitiatives knew well that Cortica only allocated options in accordance
       with the terms of the Options Plan, and is not permitted to issue options in a manner other than in
       accordance with the Options Plan without approval of its board of directors.

 43.   Section 10(a) of the Options Plan establishes that in the event of termination of the agreement with a
       service provider (eNitiatives) the options shall be exercisable for the duration of 90 days following the
       termination of engagement, and subsequently shall expire. Moreover, Section 10(c) of the Options Plan
       establishes that if an agreement has concluded with a service provider for “cause”, then all the options
       shall immediately expire. Among other things, “cause” includes:

                  “…(iv) any breach of the Optionee's fiduciary duties or duties of care towards
                  the Company or of its Subsidiaries; including, without limitation, self-dealing,
                  prohibited disclosure of confidential information of, or relating to, the Company
                  or its Subsidiaries, or engagement in any business competitive to the business of
                  the Company”

 44.   In this context, one difference between the 2016 Agreement and the 2011 Agreement, which Adv. Agassi
       succeeded to smuggle in, while Mr. Avital relied on his representation that it was completely identical,
       is found in the special condition section, which stipulates on the conditions of the Options Plan. Adv.
       Agassi’s addition, which was intentionally “inserted” by him in the center of the clause, is marked as
       follows:

                  “Special condition. Whereas the IPCS further requires consulting and resorting
                  to industry and business specific knowledge which aims to increase the value of
                  the inventions, you agree eNitiatives Business Consulting (herein after “EBC”)
                  will provide such services and will be entitled to compensation in the form of
                  stock and/or options to purchase shares of Common Stock of Signee, on a per
                  milestone basis, in an amount equal to the cash value of each such milestone
                  divided by the then known price per share, with an exercise price that is the
                  lesser of the then known price per share and the option price given to employees
                  of signee, and fully vested (the “Equity”). Such Equity shall be granted no more
                  than twice per calendar year and at any investment round. Such Equity shall
                  remain exercisable, regardless of any termination, until the first to occur
                  of: the closing of a merger of the Signee in or with another entity, the sale of all
                  or substantially all of the shares or assets of the Signee, and the closing of an
                  initial public offering of the Signee's securities. An overall cap of 0.5% of the
                  outstanding shares of Cortica shall be set for the holding of eNitiatives in Cortica
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                 and that the “then known price per share” shall be fixed at US$ 65 per share for
                 any shares not issued to eNitiatives to date, and be in effect until such time that
                 the “known price per share” is determined at a new round of investment into
                 Cortica.”

 45.   Not only was this wording not at all included in the previous agreements between the parties - rather, in
       practice, it is also completely contrary to the terms of the Options Plan, whereby eNitiatives shall
       have no right to options in the event of: (1) breach of its duties to Cortica (Section 10(c) of the Options
       Plan); or (2) the lapse of 90 days from the termination of the relationship between the parties if eNitiatives
       had not yet asked to exercise the options.

 Acceleration Payments

 46.   An additional clause that Adv. Agassi succeeded to smuggle into the 2016 Agreement regards
       acceleration payments. Under the 2011 Agreement, the relevant clause does not include a payment for
       all the milestones in the event of termination of the agreement:

                 “Notwithstanding termination of this Agreement for any reason, options and/or
                 payments as detailed above shall still be granted and/or paid if: (a) disclosure of
                 the patent by Signee and/or Signee's employee to the firm was made prior to the
                 date of termination, and (b) the firm materially contributed to the preparation
                 of the patent application prior to termination, and (c) filing of the respective
                 patent application occurred within six (6) months of such termination.”

       It should be emphasized that in the 2011 Agreement, further along that very clause, there is specific
       reference to payment of all the milestones; however, this is only in the event of M&A for all of Cortica’s
       assets or shares:

                 “Upon merger or acquisition of all, or substantially all, of Signee assets (an
                 “M&A”), all pending milestones as detailed above shall be deemed completed
                 and therefore options and/or payments will be due immediately upon closing of
                 the M&A…”

       Reading the section clearly demonstrates that the 2011 Agreement intentionally separated between two
       instances: the one case - termination of the agreement, in which not all the milestones are paid. The
       explanation for this is clear: there is no need to pay eNitiatives astronomical amounts of money (as
       eNitiatives currently demands - no less than USD 780,000 !) solely as an “exit clause”, when the patents
       did not even achieve the milestones and sometimes when nothing was done; the second case - acquisition
       of all or most of Cortica’s assets and shares (exit) - since such is a joyous event which injects much money
       to all involved parties, there was logic to agree that in this kind of event (and only in such kind of event)
       all of the milestones should be paid.
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 47.   However, in the “corresponding” clause of the 2016 Agreement, drafted by Adv. Agassi, there is a very
       minor “addition” of three words:

                   “Notwithstanding termination of this Agreement for any reason, Equity and/or
                   payments as for all milestones as detailed above shall still be granted and/or paid
                   if: (a) disclosure of the patent by Signee and/or Signee's employee to the firm
                   was made prior to the date of termination, and (b) the firm materially
                   contributed to the preparation of the patent application prior to termination,
                   and (c) filing of the respective patent application occurred within six (6) months
                   of such termination.”

 48.   Note well: in Mr. Avital’s email dated March 9, 2016 (Annex 10 above), the issue of acceleration upon
       termination of the agreement was discussed by Mr. Avital and Adv. Agassi, while Mr. Avital clarified to
       Adv. Agassi that under the 2011 Agreement there was no “acceleration” in the event of termination of
       the agreement. Adv. Agassi however responded to Mr. Avital that such acceleration was indeed included
       in the 2011 Agreement (Annex 11 above); but in such he severely and knowingly misled Mr. Avital.

 49.   It should be noted that due to Adv. Agassi being a lawyer, Adv. Agassi is subject to an increased
       duty of care and fiduciary duty vis-a-vis his client. This, in addition to the general duty to conduct
       oneself in good faith in negotiations prior to executing an agreement, and in addition to the known
       principle whereby in the event of a dispute in the interpretation of a contract, it should be
       interpreted to the detriment of the party that drafted it - a fortiori when the drafting party is a
       lawyer standing before its client, while in our case also the 2011 Agreement was drafted by the HH
       law firm.

 50.   On the basis of these sections, which were achieved through real deception, eNitiatives “calculated” most
       of the amount of the claim that it filed (Section 51 of eNitiatives’s statement of claim with its sub-clauses).
       It should be emphasized that Cortica only discovered these gaps in the 2016 Agreement post factum
       - after termination of the engagement between the parties.

 C.2 MW and subsequently M&B - did not execute an agreement and the entire
     relationship was through eNitiatives

 51.   As aforementioned, the services were provided by eNitiatives, which from 2008 until 2014 was assisted
       by the MW law firm when in reality Mr. Ben-Shimon was the person who performed the services for
       Cortica at MW, despite the fact that he only qualified as a patent agent in the US in 2012. In 2014 Mr.
       Ben-Shimon left MW, and established M&B, which also handles patent registration. From such time,
       M&B replaced MW such that eNitiatives started providing Cortica with the services through M&B.

 52.   It should be emphasized, that at no stage was any agreement whatsoever executed between Cortica and
       MW, or M&B, since all of the work (including the professional work, calculating expenses,
       correspondences etc.) was done through eNitiatives.
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 53.   One of the indications of the aforementioned is the fact that Cortica was not at all updated about the
       transition from MW to M&B but rather simply started receiving invoices from M&B rather than MW.
       After receiving the initial invoices, on July 2, 2014, Ms. Kishoni asked Adv. Agassi for an explanation
       about these M&B invoices, and whether this is in reality MW which changed its name. Adv. Agassi
       responded as follows:

                 “M&B IP Analysts is a new company that Michael established who replaces
                 Myers Wollin”

       The correspondence dated July 2, 2014 regarding the transition from MW to M&B is attached hereto as
       Annex “16”.

 54.   This conduct, moving to another firm, another company, a separate legal entity, without asking Cortica
       anything at all, exhibits (like other indications) not only the fact that Cortica never directly entered an
       agreement with M&B which was an “arm” of eNitiatives and that matters were handled only through
       eNitiatives, but is also indicative of the manner that the Defendants conducted themselves with respect
       to Cortica, as described in great detail hereunder.

 D. Inflated invoices - the Defendants did not meet the budgets
    undertaken by them
 55.   In 2016 Cortica started receiving inflated invoices from the Defendants totaling USD tens of thousands
       of dollars per month, for a long list of patent applications. As shall be explained below, it emerged (post
       factum) that many of the applications were drafted hastily and negligently, and many were drafted as
       separate applications when there was no justification or need for such, all in order to generate a strong
       “output” of applications, and to create a source of revenue and pump money from Cortica. If this is not
       enough, most of the patent applications were filed as CIP applications and not as independent
       applications, something which only emerged post factum as described in Chapters E and F hereunder.

 56.   Initially, when the invoices arrived, Cortica’s representatives expressed their dissatisfaction to Adv.
       Agassi and to Mr. Marko with respect to the lack of control over expenses and lack of planning associated
       with such (at such time they were not at all suspicious of negligent conduct and believed they were
       concerned only with Cortica’s interests). Accordingly, on January 31, 2017, Mr. Avital demanded that
       Adv. Agassi prepare a comprehensive plan for Cortica (all inclusive, including fees and the payment to
       M&B), based on a monthly budget of USD 10,000.

 57.   On February 16, 2017, Adv. Agassi sent a budget plan of USD 236,000 for the entire year of 2017
       (approximately USD 20,000 per month), which also included M&B’s fees and the USPTO fees.

       A copy of the correspondence regarding the budget and the plan totaling USD 236,000 dated February
       16, 2017 is attached hereto as Annex “17”.
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 58.   However, contrary to the agreed budget, Cortica continued to receive astronomical invoices. In an attempt
       to understand the reason for deviating from the budget, Mr. Avital again contacted Adv. Agassi and
       requested that he concentrate all the invoices received since the beginning of 2017. Adv. Agassi sent a
       spreadsheet detailing all the invoices issued from the beginning of 2017 (January 11, 2017-March 22,
       2017). The total invoices for the period of less than three months, totaled approximately ILS 241,000
       (approximately USD 66,000) this only for eNitiatives’ services, without M&B and without filing
       fees!

       A list of the invoices from January 11, 2017-March 22, 2017 and the correspondence accompanying this
       list is attached hereto as Annex “18”.

 59.   In order to put things in perspective, under the agreed budget, Cortica was only meant to pay eNitiatives
       USD 7,500 per month, such that the deviation described above is 3 times the agreed budget!

 60.   However, Adv. Agassi explained in an email that most of the invoices were issued prior to the demand
       to reduce expenses, and that he expects that the expenses will decline in Q2 2017 and even suggested
       holding a meeting. Notwithstanding, it can already be said that the budget agreed upon by the parties did
       not reflect reality, or anything close to it.

 61.   After receiving the list of invoices, on April 4, 2017 Mr. Avital instructed to stop all activities, and
       requested to receive a working plan without filing new patents. Adv. Agassi exploited Mr. Avital’s
       ignorance of patent law, and responded to Mr. Avital that in 2016 many provisional applications were
       filed per Cortica’s request, and waiving the provisional applications and failing to convert them into
       permanent applications during 2017 would cause rights to be lost and harm to Cortica.

 62.   It should be emphasized that such fact is incorrect: (1) naturally, like all technology companies, Cortica
       wanted to protect its technology in the broadest possible manner inter alia through registering many
       patents which justify such. This does not mean that Cortica wanted to artificially be a “patent factory”
       and file dozens of applications without a real need. eNitiatives needed to examine and recommend to
       Cortica which (and how many) applications should be filed based on the technological development of
       Cortica’s products and based on interviews with the inventors; however, this was not done, and
       applications were filed which were sometimes not justified from the perspective of their value relative to
       registration costs, without any consultation and reflection of reality on this matter to Cortica; (2) in such
       context, expenses could have been avoided while still avoiding a “loss of rights” through consolidating
       many applications into one or several applications which would have saved tens of thousands of dollars,
       if not more; however, eNitiatives preferred submitting as many separate applications as possible in order
       to “inflate” the fees paid to it.

 63.   Following such, on April 5, 2017 Adv. Agassi sent an updated (and inflated!) budgetary proposal of USD
       384,000 for the entire year of 2017, assuming maintaining all the applications.

       The updated (and inflated) budgetary proposal dated April 5, 2017 and accompanying correspondence is
       attached hereto as Annex “19”.
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 64.   In light of these inflated amounts in the updated proposal, which deviate from the agreed budget by
       hundreds of percentages and which were unacceptable to Cortica, required Cortica to formulate a plan
       which would meet a reasonable budgetary target and which would protect its rights. In the framework of
       those discussions, eNitiatives represented that it is supposedly prepared to meet Cortica’s requests by
       consolidating one of the milestones (the email attached as Annex 4 to eNitiatives’ statement of claim
       while withholding the correspondence on this issue presented here). This is an exceptionally negligible
       concession that does not even come close to the extraordinary gaps in the agreed budget and the
       astronomical amounts Cortica was demanded to pay.

 65.   Finally, on May 4, 2017, Adv. Agassi sent Mr. Avital a spreadsheet including recommendations - which
       applications to abandon and which applications to maintain or resubmit (again, Adv. Agassi did not
       disclose to Cortica the possibility of consolidating applications and saving expenses), together with
       forecasted costs for implementing the recommendations, all - in the framework of a budget of USD
       221,000 until the end of 2017. In response, Mr. Avital verified that such was a budgetary proposal which
       reflects all the expenses until the end of 2017, for all the recommended patent applications. Adv. Agassi
       confirmed that such amount covered all expenses and protected all of Cortica’s rights.

       The budgetary proposal dated May 4, 2017 and accompanying correspondence is attached hereto as
       Annex “20”.

 66.   But, once again, completely contrary to what had been agreed, Cortica continued to receive invoices
       which did not even slightly bear any semblance to the approved budget (and its amendment). Thus, on
       June 7, 2017, Mr. Avital sent Adv. Agassi an email which concentrated all of the invoices for May 2017
       alone, totaling approximately USD 77,000 for M&B, and approximately USD 27,000 for eNitiatives
       - meaning a total of approximately USD 104,000 for one month! Such amount constitutes
       approximately half of the expenses until the end of the year, which had been agreed upon only one
       month beforehand, and as aforementioned this is only for one month! It is clearly apparent that we
       are dealing with a very extreme deviation from what had been agreed upon by the parties.

 67.   Adv. Agassi again tried to “exclude” these invoices from the agreed budget with unacceptable
       explanations. Mr. Avital answered Adv. Agassi that the requested amounts are much greater than what
       was expected and agreed upon under the agreed budgetary proposals and asked him - whether these
       payment requests change the annual expenses in accordance with the updated budgetary plan dated May
       4, 2017? Adv. Agassi simply did not respond to this email, because he apparently thought that the
       approach of exploiting the situation in order to continue cheating Cortica would continue to work.

       The correspondence dated June 7, 2017 is attached hereto as Annex “21”.

 68.   On July 12, 2017, Adv. Agassi sent an updated budget totaling USD 180,000 from August 2017 until the
       end of July 2018. However, it once again appeared that there is no correlation between reality and the
       budget, and as a result of which, Cortica decided to suspend payment of all payment requests that were
       not approved and which were not within the budget.
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       The budgetary proposal dated July 12, 2017 is attached hereto as Annex “22”.

 69.   Subsequently, in November 2017, eNitiatives sent a budgetary proposal for 2018 totaling USD 335,000,
       and a request for payments which Cortica refused (rightfully so) to pay in 2017, totaling USD 120,000,
       due to eNitiatives’s deviation from the agreed budget.

 70.   This inflated proposal was almost twice as high as the last proposal from July 2017. When sending this
       inflated proposal, eNitiatives (and M&B) knew well, that there was no chance that Cortica would agree
       to it, such that once again we are dealing with a baseless attempt to extract funds from Cortica. It should
       be noted that the total amounts Cortica was requested to pay for 2017 reached the astronomical
       amount of USD 508,000 ! Meaning more than double the agreed budget. Obviously, Cortica decided
       that it would not pay the amounts deviating from the agreed budget.

       Correspondence regarding disagreements during the period from January-March 2018 is attached hereto
       as Annex “23”.

 71.   When Cortica saw that this is the situation, it instructed the Defendants to refrain from filing new
       applications, and that any action related to existing applications only be taken after receiving prior written
       approval, and concurrently decided to perform an external examination of the Defendants’ conduct.

 72.   In light of the outcome of this examination as set forth in Chapter E hereunder, in which Cortica first
       discovered the truth about the Defendants’ negligent and deficient conduct, Cortica informed eNitiatives
       that it is no longer interested in receiving services from it and that it is terminating the engagement with
       it, and demanded that it send all material in its possession regarding Cortica’s patent portfolio to another
       firm.

 E. Cortica’s external examination discovered negligent and clearly
    unprofessional work by the Defendants, which caused severe damage
    to Cortica - leading to the termination of the relationship between the
    parties
 73.   As foregoing, concurrently with the period in which Cortica received inflated bills, Cortica heard from
       the Defendants less and less on a professional level, meaning that Cortica received more bills while the
       Defendants started working more and more at their own initiative – inventors were hardly interviewed
       about new inventions, drafts were not sent, approvals were not requested for the actions performed, such
       as responding to office actions, filing patent applications, abandoning and reducing claims, etc.

 74.   This conduct, together with the lack of control over expenses, led Cortica to suspect something was not
       being managed properly, and it decided to hire external service providers to examine the Defendants’
       work in terms of the quality of the work relative to the fee, and as part of this to check whether there is
       any need for so many applications and responses, which were filed in the vast majority of cases at the
       initiative of eNitiatives and/or M&B alone.
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 75.   This examination, following which Cortica decided to terminate the relationship with eNitiatives,
       revealed a series of serious omissions and negligent acts by the Defendants, in violation of almost
       every possible duty, part of which were deliberately hidden from Cortica for many years, as detailed
       below:

 E.1. 114 CIP applications (!) over more than a decade (mostly from 2012 or later)
      - which reduced the period of protection over completely innovative
      technologies that justified new and independent patents

 E.1 (I) More than a decade of CIP applications, completely contrary to Cortica’s interests –
       whereby depriving Cortica of many years of protection over new technology

 76.   An examination of Cortica’s patent portfolio in the US reveals the following findings:

       76.1. Cortica has 172 applications or registered patents (hereinafter, jointly, for the sake of convenience:
              “Registrations”) filed by eNitiatives since 2008; of which 161 Registrations in the US;

       76.2. Out of 161 Registrations in the US - there is a very limited number of parent patents, most of
              which were filed between 2006 and 2008;

       76.3. Out of 161 Registrations in the US - no less than one hundred and fourteen (114) applications
              are CIP applications (!). This constitutes approximately 70% of the US portfolio;

       76.4. All 114 CIPs, including patent applications filed in 2017(!) are linked to parent patents which
              were filed more than a decade ago. In other words, there are patent applications which were
              not yet granted, which are expected to receive less than ten years of protection;

       76.5. 96 of the 114 CIP applications were filed from the end of 2012. All of these, without exception,
              will benefit from less than ten years of protection.

 77.   To understand the omissions and severe negligence in the Defendants’ actions in building a portfolio of
       this kind, which relies mostly on CIP applications, we must understand what a CIP (Continuation in Part)
       application is, what it is designed for, what are its advantages and disadvantages, when it should be used,
       and most importantly - when it should not be used.

 78.   CIP applications are a practice unique to the United States, and their main advantage is that the first patent
       application (the parent patent application) is not considered prior art with respect to a CIP patent that
       includes new information that was not included in the parent patent application.

 79.   For example: Let us assume that a certain company developed a certain product and filed a patent
       application for it (hereinafter: the “Parent Patent Application”). Meanwhile, after the filing date of the
       Parent Patent Application, the company develops some kind of technological improvement in the product
       for which the Parent Patent Application was filed (hereinafter: the “Technological Improvement”). The
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        Company can file a CIP patent application protecting the Technological Improvement (new matter) –
        so that the Parent Patent Application does not constitute prior art against it.

  80.   In order to enjoy the main benefit of the CIP application, it must be filed no later than one year of the
        date of publication of the Parent Patent Application – this time limit is rigid. If the CIP application is filed
        after a year has lapsed, then the main advantage of the CIP is annulled, and the Parent Patent Application
        (like other publications from the period of the Parent Patent Application) may serve as prior art, thereby
        causing the cancellation or reduction of patent claims in the CIP application – whether in the course of
        the CIP application’s examination by the US Patent Office or in the period after receiving the CIP patent.

  81.   Additional advantages of CIP applications are that these are usually examined in a shorter period of time
        by the US Patent Office, and in many cases require less work (on the part of law firms/patent agents).

  82.   However, the main advantage of the CIP application comes at a “hefty price” - the patent’s period
        of protection (if granted) is measured from the filing date of the Parent Patent Application, and not
        from the filing date of the CIP patent application, so that the period of protection for a CIP patent
        is necessarily shorter than that of an independent patent.

  83.   It is emphasized that in case of a CIP patent application which requires a priority date from a chain of
        patent applications, the protection period of the CIP patent (if granted) shall start on the date of the first
        application in this chain. Thus, for example, US Patent US9466068B2, which was filed as a CIP
        application in 2015 (internal ref. no. COR-108), is linked (by a chain of six CIP applications) to a Parent
        Patent Application from 2006 - will benefit from a protection period that begins in 2006, and therefore
        the protection period of the patent shall only be 11 years - instead of 20 years.

  84.   Therefore, when a CIP application is not filed within the strict time limits, not only can it not benefit from
        the advantages of a CIP application (examination in light of prior art that existed in the period of the
        Parent Patent Application), but it also causes substantial damage to the patent owner, since the patent
        owner pays “a hefty price” in the form of reducing the patent’s protection period (if granted) – for no
        reason.

  85.   This is a very unusual portfolio which, on the face of it, proves severe negligence and defects on all
        matters relating to the Defendants’ conduct.

E.1. (II) Cortica’s core technology has changed – but the Defendants did not bother to adjust the
          wording of the change applications – and filed almost no new independent applications,
          but continued mainly to file CIP applications linked to applications filed more than a
          decade ago, thereby shortening the protection of new inventions

  86.   Cortica’s core technology includes creating a unique representation (signature) of natural signals, such as
        a photo, enabling identification, classification and sorting objects, behaviors, patterns etc.

  87.   Let us take, for example, a car that is taking a video of its environment:
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        87.1. The environment includes different objects (such as – other cars, pedestrians, roads, buildings,
              traffic lights, crosswalks, etc.);

        87.2. Identifying the various objects starts with creating a signature of the environment (based on the
              environment’s image);

        87.3. The environment’s signature is compared to databases (concepts) which were already attributed to
              various types of objects. For example: one database represents a car of a certain model, a second
              database represents pedestrians, a third database represents crosswalks.

        87.4. The comparison’s results provide information on the objects in the environment.

  88.   Creating the databases (concepts) is performed mainly autonomously and without guidance, requiring no
        human intervention. For example: The system is capable of autonomously processing a great number of
        pictures to create databases representing different objects. This method allows creating accurate databases
        independently of manual processing (such as tagging objects) of the images. This method allows updating
        the databases dynamically and without human intervention.

  89.   Cortica’s core technology allows identifying objectives and is unsusceptible to obstructing objects,
        lighting, distance, change of angle, colors etc., and allows identifying the object in almost any situation.

  90.   Starting from 2012, some of the foundations of Cortica’s core technology changed in relation to the core
        technology in place between 2006 and 2008 (the years in which the parent patent applications were filed).
        Such changes include, inter alia, changes in creating the signature and changes in concepts.

  91.   These material technological changes (especially in the field of the core technology) justified drafting
        new and independent patents which would receive 20 years of protection and be worded differently.
        These patents could even serve as parent patent applications for CIP applications to be filed within the
        rigid timeframe.

  92.   However, the defendants failed to include the material changes in the wording of the patent applications,
        and did not file new and independent patent applications protecting such changes, and instead continued
        to file CIP applications using a “copy-and-paste” method, based on parent applications filed more than a
        decade earlier as foregoing – thus reducing the period of protection granted for the patent and without the
        relative advantage of CIP applications.

E.1 (III) The many CIP applications were meant for obtaining lots of quick and easy money, in
          consideration for little work

  93.   The Defendants drafted the CIP applications with a “copy-and-paste” method using information (even if
        not always relevant) from one or more parent applications, and added the technological improvement
        (new matter) negligently. There is no doubt that such (negligent) work is much easier and faster than
        drafting a patent application “from scratch”, which certainly requires more effort in thinking and a much
        greater investment of time.
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 94.   Therefore, the Defendants found it “easier” to continue with the “copy-and-paste” method, while in fact
       undermining the ability to protect technologies and applications for new concepts, which now receive
       fewer years of protection (sometimes 7 years and even less, instead of 20).

 95.   The reason for filing Cortica’s patent applications by way of a CIP application, and the way in which they
       were drafted, demonstrate that the desire was to create a large number of applications quickly and thereby
       earn as much money as possible, as quickly as possible, while putting in as little work as possible.

 96.   The fact that it is much easier to draft different applications (including CIP applications) in a
       negligent “copy-and-paste” method, and the fact that CIP applications are examined in a relatively
       fast proceeding (usually much faster than ordinary patent applications) were those considered by
       the Defendants, instead of Cortica’s interest as a client.

 97.   As detailed in Chapter C.1 above, the fee arrangement with eNitiatives was based on milestones. In other
       words, on “progress” in the registration proceeding according to stages and the number of applications.
       Therefore, eNitiatives had a clear interest to file as many patent applications as possible, to be examined
       as quickly and as easily as possible, and to achieve all milestones easily and quickly – regardless of the
       “quality” and the duration of the protection which Cortica’s patents receive in reality, and
       regardless of the effort invested (or not) in working on the patent applications. This interest, of quick
       and easy enrichment, contradicted Cortica’s interest to receive better protection for its patents for as long
       as possible.

 98.   M&B also “did not mind” charging the full fee as if these were independent patent applications, for many
       applications filed with the “copy-and-paste” method, making relatively minor additions (new matter
       only).

 99.   Apparently, the Defendants saw that it worked well for them, decided that Cortica is a production line for
       money (and options too, in the case of eNitiatives) in consideration for easy work – and they made a nice
       profit – as opposed to Cortica which paid a lot of money in consideration for patents that provided
       weak and short-lived protection, and did not even know it was being deceived for years(!), as
       detailed in Chapter F below.

 E.2 The Defendants stopped involving Cortica in registration proceedings,
     including with respect to highly material decisions, while favoring their
     personal benefit over Cortica’s interest

 100. Like any professional providing services, a prerequisite condition which constitutes a professional and
       even ethical duty, is to submit to the client drafts for approval and comments, meet the client to explain
       the implications of any action, present it with alternatives and substitutes, consider together different
       wordings, and finally receive approval to perform material actions or actions requiring payment of money.

 101. An examination of the Defendants’ conduct demonstrates that at a certain stage they simple allowed
       themselves to disregard these basic duties, and acted in violation of the duties of care and professionalism
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       required from them. Below we shall detail some non-exhaustive examples of the Defendants’ negligent
       acts and omissions in this context:

 102. They responded to patent examiners’ reservations (office actions) without consulting Cortica,
       sometimes while significantly reducing claims without approval, thereby undermining the scope of
       protection over the patent. Cortica received only invoices.

 103. They did not present Cortica with the possibility of filing consolidated applications or consolidating
       existing applications to reduce costs. The Defendants acted in severe conflict of interest when they
       did not present Cortica with the option of consolidating applications highly similar to each other (we
       recall that a significant part of the portfolio is “copy-and-paste”, with minor changes), into one or several
       applications, thereby saving tens and maybe hundreds of thousands of dollars. This is made even worse
       by the fact that Cortica demanded to stop and only work according to an orderly budget. The facts are
       clear – eNitiatives had an evident interest to file as many separate applications as possible, rather than
       one application consolidating everything, since the fee was calculated by the number of applications
       and the milestones reached by each application. M&B also had an interest to file as many applications
       as possible with as little work as possible, enabling charging a fee as if these applications were prepared
       “from scratch.”

 104. Cortica was not sent application drafts for approval. In the above context, it was for good reason that
       in dozens of cases, patent applications (both provision and non-provisional) were filed without Cortica
       approving the application draft, sometimes without Cortica even receiving a draft, and sometimes without
       Cortica even approving the filing of any application. Cortica received only the invoices, in better cases
       with the application that was already filed and in worse cases without a copy of the application. We can
       only wonder – how does a patent agent file a patent application without receiving the client’s approval,
       and without knowing whether the patent’s wording is up-to-date and accurate with respect to the client’s
       technology?

 105. No discussions / meetings / presentation of alternatives were held, regarding the wording of the patent
       applications, the manner of presenting facts therein, possible alternatives, advantages and disadvantages
       in drafting claims this or that way, and such basic matters expected from professionals in providing
       services of this type.

 106. Applications were converted from provisional to non-provisional without approval and without
       updating the application’s content as expected. In several instances, applications filed as provisional
       were converted to non-provisional, without consulting or asking Cortica. Here again, one of the main
       purposes of filing a provisional application is to “benefit” from the priority date granted by the
       provisional patent application, and also to “benefit” from a year in which it is possible to improve and
       upgrade the invention under the application, and to update the non-provisional application.
       Clearly, the conversion of a provisional application into a non-provisional application after one year,
       without making sure with Cortica that there were no improvements or upgrades in the year since filing
       the provisional application, is an unreasonable act (to put it mildly).
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 107. They stopped interviewing inventors. In the last two years of the parties’ relationship (2016-2017),
       almost no inventors were interviewed regarding new inventions. This did not stop the Defendants from
       filing many dozens of new registration applications in these years. This conduct is strange and irregular,
       and significantly and adversely affected the wording of part of the applications, and the only reason for
       this is that inventor interviews (as opposed to filing applications) – were not prescribed a fee.

 108. A provisional application was filed in February 2017 (COR-210) and was simply “forgotten”, until
       it expired in February 2018, without a regular patent application being filed a year later, thereby
       preventing Cortica from benefiting from the priority date of that provisional patent application.
       Provisional patent applications expire one year after their filing. To benefit from the priority date granted
       by a provisional patent application, the provisional patent application must be converted into an ordinary,
       non-provisional patent application in the same year. The Defendants apparently “forgot” about the
       provisional application and it expired after one year. Needless to say, this is pure negligence, which
       caused unnecessary wasting of Cortica’s money, and undermined the protection of its intellectual
       property. For the avoidance of doubt, it is emphasized that this application expired before the termination
       of the relationship between the parties. Moreover, eNitiatives explicitly undertook towards Cortica that
       it would convert this provisional application into a non-provisional application as part of the budget
       proposal dated July 12, 2017 (Annex 22 above).

 109. They announced abandonment of patent application COR-088, which eNitiatives estimated in
       reports to be valued at USD 1-3 million(!), without approval or consultation. The supposedly
       “professional” explanation provided post factum for abandoning patent COR-088, completely
       contradicts “professional” conduct in other patents. The Defendants argue that they believed that the
       claims in the application should not be reduced so that they include certain restrictions. However, in
       several other Cortica patents, the Defendants did not hesitate to reduce the claims in similar fashion, and
       did not abandon the application. In any case, clearly with respect to such a dramatic decision, the
       Defendants should have received Cortica’s approval, taking into consideration the fact that we are dealing
       with a patent that they themselves appraised at USD 1-3 million (Annex 24 below).

 110. M&B registered itself as the owner of PCT applications (international applications), which placed
       it in a conflict of interests. This was done for no real reason, since it would have been possible to file
       PCT applications with the Israeli Patent Office or the International Patent Office (IB) - and this was also
       done without informing Cortica. This practice is utterly unacceptable.

 111. We summarize by stating that the foregoing system of acts and omissions reflects conduct that is no less
       than outrageous, in every possible aspect. The logic is also that attorneys or patent agents work on behalf
       of and for their client and have no right or authority to act without the client’s consent.

 E.3 The Defendants changed nothing in the manner of drafting the applications,
     even after significant transformation in US law with respect to software
     patents - which exposed the applications to rejection for the inventions being
     deemed an “abstract idea”
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 112. On June 19, 2014, the US Supreme Court handed down judgment in the Alice Case2 which determined
         that patent protection shall not be granted to a computer-implemented method for exchanging financial
         obligations between two parties, using an intermediary third-party, which reduces the risk that one party
         to the financial transaction would not fulfill its obligations to its counterparty.

 113. As a result, on June 25, 2014, the USPTO issued a precedential memorandum, that included examination
         guidelines in light of the judgment, stating that it should be examined whether the invention is deemed
         an abstract idea, in which case it shall not be eligible for a patent. In recent years, the USPTO issued
         several additional directives on this matter.

 114. It should be noted, that the Alice Case and the resulting change in USPTO policy led to a significant
         reduction in the filing of patent applications in the field of software in the US, an increase in the number
         of office actions refusing to accept patents for registration on the basis of Section 101 of the US Patent
         Act, an increase in the rejection of software patent applications, and an increase in cancelation of patents
         in courts.

 115. On May 26, 2016, judgment was handed down in the Enfish Case3, which also dealt with software
         patents. In the judgment, a series of rules and tests were determined for demonstrating an improvement
         in the functioning of computer software, in order to overcome office action on the matter of an “abstract
         idea” by virtue of Section 101 of the US Patent Act.

 116. We would expect such dramatic shifts in US law with respect to software patents, to be addressed
         in some way by Cortica’s representatives, a company that, as we remember, develops software
         inventions, with respect to registering software patents in the US. We would also expect that the
         manner of drafting the applications would change in accordance with the change in the law.

 117. However, the Defendants did not even bother to update Cortica on these dramatic shifts, and worse did
         not change anything in the manner of drafting the applications, and not only did the number of
         Cortica applications not decrease since 2014, it in fact increased significantly.

 118. As a result, many applications filed by the Defendants were refused with reservations on the basis of
         Section 101 of the US Patent Act, and Cortica was forced to expend money to deal with these reservations
         in its attempt to register the patents. It should be noted that in some cases, it is impossible to overcome
         the reservations due to the basic faulty wording of the patent applications. In addition, some of the patents
         that were received are weak, difficult to enforce and exposed to cancellation proceedings.

 E.4 Many patent applications were drafted in an amateur and negligent manner,
     so as to render some of Cortica’s patents unenforceable and exposed to



 2
     Alice Corp. v. CLS Bank International, 573 U.S. 208, 134 S. Ct. 2347 (2014).
 3
     Enfish, LLC v. Microsoft Corp., 822 F.3d 1327 (Fed. Cir. 2016).
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       cancellation proceedings and “indirect challenge” (even more so in light of the
       aforementioned judgments in the Alice Case and Enfish Case)

 119. As Cortica shall now demonstrate, a significant part of the patent applications and patents (most of them
       CIP, as provided in Chapter E.1 above) are registered on a truly amateur level, and are plagued by a very
       long line of inaccuracies, which expose them to cancellation proceedings and/or “indirect challenges” in
       the framework of infringement proceedings:

 120. Negligent wording in the “copy-and-paste” method. Sometimes the copy-and-paste material was not
       even relevant to the technology which the patent application purported to represent (for example, a patent
       referring to image recognition technology, while the attached figures to illustrate it refer to sound
       recognition (!) technology.

 121. Drafting superficial, insufficiently detailed applications, sometimes with what appears like minimal
       investment of work.

 122. Drafting patents negligently, so that they do not describe how Cortica’s technology works or what
       exactly it consists of. For example, many patents state a general "wish list" of sorts, of how some of the
       components “should be” designed, instead of stating how the components were realized and implemented,
       as follows:

                 “Computational Cores Generation is a process of definition, selection and tuning
                 the Architecture parameters for a certain realization in specific system and
                 application. The process is based on several design considerations, such as:

                 (a) The cores should be designed so as to obtain maximal independence, i.e., the
                 projection from a signal space should generate a maximal pair-wise distance
                 between any two computational cores' projections in a high-dimensional space.

                 (b) The computational cores should be optimally designed for the type of signals,
                 i.e. the computational cores should be maximally sensitive to the spatio-temporal
                 structure of the injected signal, for example, and in particular, sensitive to local
                 correlations in time and space.

                 (c) The computational cores should be optimally designed with regard to
                 invariance to set of signal distortions, of interest in relevant application.”

       With all due respect, this is not a patent wording.

 123. Wording by way of vague “incorporation reference” to other patents. Often with sweeping reference
       to patents which also vaguely refer to other patents, so that it is impossible to understand what the patent
       refers to exactly - all this without examining the compatibility between the referring patent and the
       referred patent.
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 124. Vague, amateurish and even mistaken wording, from which it is impossible to understand what
       exactly is protected by the patent. Just for an example: using the wrong terms, referring to the features
       of a product or method without explaining how the feature is achieved, lack of sufficient details, using
       relative and nonquantitative terms, failure to include terms appearing in claims in the application itself.
       All these expose the patents to cancellation proceedings or indirect attack - for example, by virtue of
       Section 112 of the US Patent Act.

 125. In the same context, wording that does not include implementation of the Alice Case and Enfish
       Case judgments regarding the accurate description of the improvement of the computer software’s
       operation.

 126. Wording reflecting old Cortica technology in patents that should protect newer Cortica technology.
       As provided in Chapter E.1 (II), Cortica’s technology changed over the years, but a large number of patent
       applications and patents do not reflect this, and are limited to the technology as it was between 2006 and
       2008.

 127. It is emphasized that this is a partial and non-exhaustive list.

 E.5 The Defendants failed to outline a correct and efficient strategy for protecting
     Cortica’s intellectual property, and this negligent conduct also lead to a
     failure in appraising the patents

 128. As we can see from the agreements between the parties (even in the agreement with HH), and as we can
       also see on the eNitiatives website at <www.enitiatives.biz>, it presents itself as a firm that: (1) builds
       and outlines intellectual property protection strategies; (2) provides appraisal and commercialization
       services for intellectual property, and patents in particular.

 E.5 (I) The “IP Protection Strategy” turned out to be an illusion

 129. One of the purposes of Cortica’s engagement with eNitiatives was for the latter to outline for Cortica a
       protection strategy for its intellectual property. In retrospect, Cortica discovered that eNitiatives, together
       with M&B, utterly failed to do so. This failure consists of two factors:

 130. First, as detailed extensively above, the filing of dozens of applications which caused the waste of
       Cortica’s funds and resources, in a most unprofessional manner and as CIP applications which shall for
       the most case expire already in 2025, a first-class strategic failure;

 131. Second, not appropriately addressing developments in intellectual property laws in China – the world’s
       second largest economy. Almost a decade ago, already, significant transformations took place in
       intellectual property law in China, including, inter alia, adjustment of China’s intellectual property law
       to international treaties, and later on the establishment of special intellectual property courts in China
       (alongside stricter penalties for violators of intellectual property rights and significant compensation).
       Accordingly, China, which was well-known as an empire of imitation products and a country where
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        intellectual property rights are not enforced, slowly became a place where protection of intellectual
        property rights is advisable.

        In particular, with respect to software patents, in October 2016, the State Intellectual Property Office
        (SIPO) in China published a directive according to which computer software, which was not considered
        until then eligible for protection as a patent, shall be considered eligible for protection. eNitiatives did
        state, at some stage, that it is necessary to file patent applications in additional countries, and mentioned
        China, however in verbal conversations Cortica was told that it is not economical to file patents in China.
        eNitiatives never updated Cortica on the significant changes that took place in China, and in any case,
        patents were never filed in China.

E.5 (II) The Defendants’ negligent and unprofessional conduct adversely affected the patents’
         value

  132. Pursuant to agreements between the parties, eNitiatives would supply, on an annual/semiannual basis/at
        Cortica’s request, reports on the status of Cortica’s patents, to be presented before the board of directors
        and/or potential investors.

        Reports for example from 2015 and 2016 are attached hereto as Annex “24”.

  133. In these reports, eNitiatives would provide Cortica with evaluations regarding the patents’ financial value.
        In retrospect, Cortica discovered that in quite a few cases, the value of the patents turned out to be lower
        than appraised by eNitiatives.

  134. The adverse effect to the patents’ value derived from the Defendants’ negligent conduct:

  135. First, the weak protection of patents extensively described above – with respect to the scope of the
        protection, its quality (the ability to challenge it) and its duration – impair their value.

  136. Moreover, they failed in creating a portfolio suitable for commercialization, which also directly affects
        the valuations.

  137. We shall illustrate with an example, well-known to the Defendants: In 2017, Cortica was approached by
        Mr. Chris Sommers of ThinkFire, a firm specializing in IP commercialization, with the purpose of
        examining the possibility of purchasing part of Cortica’s patents. Mr. Sommers even talked and conducted
        a correspondence with the Defendants. In his email dated October 27, 2017 to Cortica – cc’d to Adv.
        Agassi and Mr. Ben-Shimon – Mr. Sommers emphasized what they were also told verbally, that the
        manner in which Cortica’s portfolio is constructed, as “one big family” of patents, makes it very difficult
        to commercialize the portfolio, and leads to a decrease in the patents’ values.

        The correspondence with Mr. Sommers on the matter of patent commercialization is attached hereto as
        Annex “25”.
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 138. It should be noted that even after this criticism, the Applicants did not change anything and continued
       working in the same manner (until the termination of the parties’ relationship a few months later).
       Moreover, in the aforementioned correspondences, we can see that Mr. Raichelgauz requested Adv.
       Agassi, twice, to receive some sort of response/explanation from him regarding the vast gap between the
       information presented by the Defendants over the years and the new (and real) information received from
       Mr. Sommers. Adv. Agassi simply ignored this simple request made by Mr. Raichelgauz (twice),
       and again we can only wonder why.

 F. For years the Defendants concealed from Cortica the fact that most
    of its portfolio consisted of CIP applications, and did not explain the
    implications of CIP to it
 139. An examination of the reports provided over the year with respect to the patents’ status reveals that the
       Defendants hid from Cortica the fact that most of its portfolio consists of CIP applications (copies of
       reports from 2015 and 2016 are attached hereto as Annex 24).

 140. For example, in a report dated September 6, 2015, only 19 applications appear as CIP, while at that time,
       64 applications were CIP. In a report dated March 6, 2016, only 20 applications are termed CIP, while at
       such time, 64 applications were CIP.

 141. Even worse – in the last report sent by Adv. Agassi in February 2018, only 3 out of 114 (!) applications
       were termed CIP, while the balance – 111 applications – were termed Utility: Non-Provisional,
       instead of stating that they were CIP applications.

       This is a misleading name, since it is customary to call a CIP application Utility: Continuation-in-Part
       (as was also performed in the February 2018 report, with respect to 3 applications out of 114), and not by
       the general name “non-provisional”.

       The February 2018 report is attached hereto as Annex “26”.

 142. Cortica received the February 2018 report on February 4, 2018, at the request of Cortica’s COO, Mrs.
       Karina Odinaev. The first of the service providers hired by Cortica to examine the Defendants’ conduct
       was an external patent agent, which saw the report and was shocked – both by the fact that there are so
       many CIP applications, and by the fact that Cortica was not even aware of this and was in fact misled for
       all these years.

 143. The same patent agent then explained to Mrs. Odinaev the implications of CIP – this is in fact the first
       time that anyone in Cortica understood the damage to the protection period resulting from filing a
       patent application as a CIP application!

 144. Following this, and after additional clarifications with several professionals, Cortica understood how
       severe the deceit was. In an attempt to receive some explanations, on March 6, 2018, Mrs. Odinaev sent
       an email to Adv. Agassi, to which she attached one of the applications (COR-179) as appears on the
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       USPTO website, and asked why it was presented in the February 2018 report as Utility: Non-Provisional
       rather than as a CIP application:

                 “I've been reviewing the docket you sent, and have the following question:
                 Cor179 appears as utility: non-provisional in the docket file. If I understand
                 correctly, the actual application (attached) says its CIP, I would expect the
                 docket to show this as a CIP. Am I missing something?”

 145. In his response to Ms. Odinaev question, Adv. Agassi continued to try and deceive, and answered that in
       fact this was an independent application, that includes references to CIP as prior art only:

                 “In this case we mentioned several prior art items as references although the
                 disclosure itself is stand-alone started as a provisional patent application.”

       The correspondence between Ms. Odinaev and Adv. Agassi on the matter of the February 2018 report is
       attached hereto as Annex “27”.

 146. From Agassi’s statements it arises, that the same application claims a priority date only from a provisional
       application filed in 2016!

 147. This is pure deceit. Not only is COR-179 a CIP patent application, it is in fact a CIP application
       based on a chain of six CIP applications going back to a 2006 parent patent (this in addition to the
       provisional application from 2016). The last thing that one could say about this application is that it is
       a “stand-alone… application!”.

       COR-179 (US Patent Application no. US20180018337A1) is attached hereto as Annex “28”.

 148. To explain, if COR-179 is granted, then as opposed to Defendants’ argument, the period of protection
       would be counted from 2006, rather than from its filing date in 2017.

 G. Double charges
 149. To understand the astronomical bills that Cortica received, it is important to understand that in fact,
       according to the work model in place between the parties, Cortica paid twice, without its knowledge,
       for the exact same work, both eNitiatives and M&B, in complete contradiction of the representation
       made by eNitiatives to it to begin with whereby the services that it provides it should save it money. We
       shall illustrate this with an example:

       Let us assume that eNitiatives drafted a draft of a certain patent application and sent it to M&B for
       comments and/or filing etc. – i.e. MS 1.0 – USD 2,500 according to the 2016 Agreement; at this stage,
       eNitiatives’s work is in fact finished, and M&B goes over the draft, makes comments on it (including
       comments that are mostly technical and concern “phrasing”, since eNitiatives is the one that is supposed
       to be in touch with the inventors – and sometimes no comments at all were given) and files it; in such a
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       case, Cortica pays eNitiatives an additional USD 2,500 for the filing (MS 2.0), even though eNitiatives
       did not file the application itself and performed no action at this stage;

       In addition, eNitiatives also paid a fee to M&B, at an amount more or less identical to MS 1.0 + MS 2.0
       – approximately USD 5,000 for “drafting patent application” and filing, as if M&B drafted the
       application itself “from scratch”; this amount still does not include charges and responses to examination
       reports and office actions, if any, and does not include the stage of receiving the patent (MS 3.0), for
       which eNitiatives collected an additional USD 3,000 from Cortica, without performing any action (this
       is a decision by the USPTO patent examiner to accept the patent for registration).

       In other words, approximately USD 13,000 (USD 8,000 to eNitiatives, another USD 5,000 to M&B),
       excluding office actions and expenses, and of course excluding the allocation of options to
       eNitiatives.

 150. These facts are many times worse in light of the fact that most of Cortica’s patents were written in
       a negligent “copy-and-paste” method used by the Defendants, while filing over a hundred CIP
       applications that rely on a limited number of parent patents (Core Patents) as detailed in Chapter E.1 (III)
       above, so that the work in reality for most patents was very negligible and did not justify the inflated
       amounts.

 151. Cortica started discovering these double payments only when the number of applications increased
       significantly, without its approval, and the amounts became astronomical as foregoing, and after external
       service providers examined their conduct on behalf of Cortica as detailed above.

 H. The normative framework - causes of action
 H.1 The Defendants were grossly negligent in providing the services to Cortica,
     and caused it severe damages

 152. The Defendants’ actions as detailed above constitute extreme negligence and/or a series of extreme
       omissions pursuant to Sections 35-36 of the Torts Ordinance [New Version] (hereinafter: the “Torts
       Ordinance”), since reasonable legal advisors dealing with patent laws (attorneys/patent agents) should
       have been familiar with the material and practices of their occupation, and as a result:

      152.1. The Applicants should not have filed 114 CIP applications over more than a decade, in a manner
             which most significantly shortened the period of protection to be received by Cortica’s patents. In
             addition, the filing of the CIP applications exposed the patents to office actions/cancellation
             proceedings/indirect challenges. Moreover, the Defendants should have explained the implicants
             of CIP to Cortica;

      152.2. The Defendants were supposed to get Cortica involved in the registration proceedings, and as part
             of this to send it drafts for comments and receive its approval for performing the various actions
             detailed above, certainly when dealing with actions such as abandoning or reducing claims, and a
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             fortiori abandonment of a patent application. The Defendants were not supposed to “forget” a
             provisional application and let it expire – but they acted in violation of all of the foregoing;

      152.3. The Defendants were supposed to implement the changes in US law with respect to software
             patents but failed to do so: the Defendants should have drafted the patent applications
             professionally, as to reflect the changes in Cortica’s technology, in particular in light of changes in
             US law as foregoing, but instead drafted the patents in a clearly unprofessional, vague and amateur
             manner, so as to make part of them unenforceable and exposed to office actions/cancellation
             proceedings/indirect challenges;

      152.4. The Defendants were supposed to outline an efficient protection strategy for Cortica’s intellectual
             property, correctly appraise the patents and build the portfolio as to allow its maximal and efficient
             commercialization, bur utterly failed to do so by filing 114 CIP applications, and build the entire
             portfolio as “one big family”, in a way that does not allow separation and efficient
             commercialization of the patents and impairs their value. The Defendants also ignored explicit
             clarifications on this matter;

      152.5. In addition, the Defendants failed in that they did not attribute any importance to transformations
             taking place in Chinese patent law.

 153. The Defendants were negligent in purporting to provide Cortica with professional services, when in
       reality, for a long time, they were not even certified to provide such services.

 154. eNitiatives was negligent when it misled Cortica with respect to the 2016 Agreement, in order to improve
       terms vis-à-vis Cortica.

 155. The Defendants were negligent when they misled Cortica from understanding that it is in fact paying
       double (to eNitiatives and M&B) for each action they perform.

 156. The Defendants were negligent when they preferred their personal interest over Cortica’s interest.

 H.2 Negligent misrepresentation and fraud, fundamental breach of the
     Agreement or at least its performance in extreme lack of good faith

 157. Deliberately concealing the fact that 70% of Cortica’s portfolio consisted of CIP applications for years,
       and in particular the implications of CIP; Adv. Agassi’s attempt to conceal this fact even after he was
       explicitly asked about it as foregoing; misleading Cortica with respect to the 2016 Agreement; misleading
       Cortica with respect to the double payments that the Defendants charged it; and misleading Cortica
       regarding the Defendants’ ability to provide it with the services, even though they were not certified to
       do so – amount to negligent misrepresentation and even fraud pursuant to Sections 35-36 and 56-57 of
       the Torts Ordinance.
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 158. Moreover, the Defendants’ conduct described in the Statement of Counterclaim above also constitutes a
       fundamental breach of the agreement between Cortica and eNitiatives, pursuant to Section 6 of the
       Contract Law (Remedies for Breach of Contract), 5731-1970 (hereinafter: the “Contract Law –
       Remedies”), and also lack of good faith in performing the contract between Cortica and eNitiatives, in
       violation of Section 39 of the Contract Law (General Part), 5733-1973 (hereinafter: the “Contract
       Law”).

 H.3 Deception and exploitation, lack of good faith in negotiating an agreement and
     violation of an attorney’s fiduciary duties towards his client

 159. The Defendants’ conduct, and especially that of Adv. Agassi from eNitiatives, on all matters relating to
       Cortica’s deception with respect to the 2016 Agreement, constitutes lack of good faith in negotiating the
       signing of an agreement, in violation of Section 12 of the Contract Law, as well as deceit and extortion
       pursuant to Sections 14 and 18 of the Contract Law. In addition, this conduct by Adv. Agassi violates the
       duty of acting fairly and in trust toward a client, pursuant to Section 2 of the Ethics Rules.

 160. Misleading Corsica with respect to the Defendants’ ability to provide it with professional service,
       including hiding the fact that they are not certified to provide such services, also constitutes lack of good
       faith in negotiating a contract.

 H.4 Severe conflict of interest and unjust enrichment

 161. eNitiatives’s fee model, which is not stipulated on the quantity of time or effort, or the quality of the
       patents, but on the number of applications that “progress” according to the milestones, as well as M&B’s
       conduct, which collected for each CIP application money as if it were an application drafted “from
       scratch,” created a clear conflict of interest for the Defendants, between their interest, of as many
       applications as possible to be filed and accepted for registration with minimal effort on their part, thereby
       collecting maximum fees, and Cortica’s interest as a client to receive protection that is as extensive and
       as long as possible in its patents, with as little financial expenses as possible.

 162. Therefore, the Defendants filed dozens of patent applications when sometimes there was no real need for
       them, without Cortica’s approval, and did not present Cortica with the possibility of filing a consolidated
       application or consolidating a significant part of the existing applications, thereby saving expenses, but
       preferred to increase its expenses for no logical reason but their desire for unjust enrichment at Cortica’s
       expense.

 163. This constitutes prohibited conflict of interest pursuant to Section 14(a) of the Ethics Rules regarding
       attorneys, and pursuant to Section 146 of the Patent Law, 5727-1967 (hereinafter: the “Patent Law”),
       with respect to patent agents.

 164. In this context, the number of applications filed using the “copy-and-paste” method, with minimal effort,
       together with the “double” charge for the very same work (“copy-and-paste” work with minor additions
       as foregoing) – only reinforces the above conclusions and makes it more serious.
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 165. The Defendants’ conduct described above, the double charges, number of applications, decisions in
       conflict of interest meant to benefit their accounts for no justifiable reason at Cortica’s expense, and
       amateurish and negligent conduct, especially in light of the severe conflict of interest that the Defendants
       acted in, constitute unjust enrichment as this term is used in the Unjust Enrichment Law, 5739-1979
       (hereinafter: the “Unjust Enrichment Law”).

 H.5 Provision of legal services without any certification

 166. At least until 2012, no person in eNitiatives was certified to provide legal services or advisement, whether
       general or in the field of patents, and the services provided to Cortica were in violation of the provisions
       of the Bar Association Law and the Patent Law. Even after the artificial “joining of forces” of eNitiatives
       and the HH law firm in 2011, Mr. Reuven Marko still provided Cortica with legal services without
       certification (to the best of our knowledge, Mr. Marko is not certified to provide such services even to
       the present day), and the only person certified to provide such services was Adv. Agassi.

 167. Moreover, Mr. Ben-Shimon was also certified as a US Patent Agent only in 2012 (Annex 5 above), and
       therefore all of the services that he provided Cortica as part of the MW Law Firm were in violation of the
       American law on this matter. It is emphasized that Mr. Ben-Shimon was the one to provide the services
       in effect until his certification, even if he was not the one to “sign” on the applications and documents
       filed with the USPTO.

 168. These facts explain the severe negligence described extensively above, since some of the base patents as
       well as many CIP applications on the basis of which the defendants “copied-and-pasted” over the years,
       as described above, were drafted when the Defendants were not certified as attorneys, patent agents or
       patent agents.

 H.6 Prohibited sharing and/or distribution of profits between an attorney and a
     person other than an attorney

 169. In addition, the fact that eNitiatives joined the HH law firm and the distribution of the fee between them
       (in cash to HH and in options to eNitiatives), as detailed in Chapter C.1 (II) above, constitutes prohibited
       distribution of profits according to the Ethics Rules and the Bar Association Law.

 170. The present employment of Adv. Agassi, who is employed by eNitiatives which is not a partnership of
       attorneys or law firm, but an “ordinary” limited liability company, providing legal services for a
       consideration, is also against the Ethics Rules. In addition, or alternatively, since Adv. Agassi is a director
       in eNitiatives, and possible also receives a percentage of its profits, he is performing a prohibited sharing
       of profits with a person other than a lawyer, in violation of the Association Bar Law.

 I.    Remedies
 171. Pursuant to the foregoing, the honorable Court is requested to order the Defendants, jointly and severally,
       to pay Cortica the following amounts:
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       171.1. USD 2,000,000 - Restitution of the fees paid over the years to the Defendants in their various roles
              (payment to eNitiatives, whether directly or through the HH law firm, and payment to M&B,
              whether directly or through MW). As described in detail in this Statement of Counterclaim, it arises
              that the Defendants provided amateur and unprofessional service, were grossly negligent causing
              severe damages to Cortica, charged it double charges, “inflated” the fee they collected from Cortica
              by splitting into many applications, and worked in the “copy-and-paste” method. Such a service is
              a clear and fundamental breach of the agreement, for which Cortica claims that it be returned the
              fee that it paid;

       171.2. ILS 7,000,000 - Compensation for the damages caused to Cortica as the result of the gross
              negligence in filing the patent applications, including the filing of 114 CIP applications, and the
              amateur and negligent drafting of the applications, which impaired the scope and duration of the
              protection of the patents, and exposed them to reservations/cancellation proceedings/challenges
              after acceptance or as part of infringement proceedings;

       171.3. USD 2,000,000 - Compensation for the damages caused to Cortica due to the abandonment of
              Patent COR-088 without Cortica’s approval. This amount constitutes the average of Cortica’s
              valuation according to which the COR-088 patent is worth between USD 1,000,000 and USD
              3,000,000;

       171.4. ILS 5,000,000 - Compensation for the damages caused to Cortica due to the devaluation of the
              patents as the result of the Defendants’ failure to build the patent portfolio, thus making its
              commercialization difficult.

 172. For the purposes of the court fee only, Cortica sets its overall claim against the Defendants at the amount
       of ILS 20,000,000.

 J.    The Court is authorized to hear the claim
 173. The honorable Court is authorized to hear this claim, both due to the fact that the agreement applicable
       to the claim exclusively authorizes it, as provided in Section 53 of eNitiatives’s own claim, and due of
       the fact that we are dealing with a Statement of Counterclaim to a claim filed with the honorable Court.

 174. The honorable Court is authorized to hear the action also with respect to M&B, which is a US resident
       company, as detailed in the Motion to Permit Service Outside the Jurisdiction, filed simultaneously with
       this Statement of Claim.

 175. Pursuant to all of the foregoing, the honorable Court is requested to grant this Claim and all its reasons
       and causes, and to order as requested in Chapter I above.

 176. In addition, the honorable Court is requested to order the Defendants to pay Cortica’s costs, including
       attorney fees.
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    Dr. Gilad Wekselman, Adv.              Uriel Mozes, Adv.           Eddie Levdansky, Adv.




                                Herzog, Fox, Neeman & Co., Advocates
                                  Counsels for the Counter-Plaintiff
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                                   Annex 1
          The Registrar of Companies extract for Cortica
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       COMPANY INFORMATION, INCLUDING ACTIVE AND INACTIVE PLEDGES

       COMPANY DETAILS
       Co. No: 513975250        Legal Status: Active      Registration Date: 09/05/2007
       Co. Name: Cortica Ltd. [Hebrew]
       Co. Name in English: Cortica Ltd.
       Company Type: Israeli Company classification: Private Company Shareholder liability: limited
       Corporate address: 103 Allenby St., Tel Aviv – Yafo       Post-code: 6513433
       Principal Corporate Objectives: To engage in the fields of operations listed in the articles of
       association
       Last Annual Report Submitted: 2017        Registration Date: 13/06/2017

       SHARE CAPITAL DIVISION
       1.   Share Class: Preferred A        Par Value: 0.01                 Currency: ILS
            No. of Shares: 258,712          Registered Share Capital:       Issued Share Capital: 2,587.12
                                            2,587.12
       2.   Share Class: Preferred B        Par Value: 0.01                 Currency: ILS
            No. of Shares: 424,083          Registered Share Capital:       Issued Share Capital: 4,240.83
                                            4,240.83
       3.   Share Class: Preferred C        Par Value: 0.01                 Currency: ILS
            No. of Shares: 698,021          Registered Share Capital:       Issued Share Capital: 6,951.09
                                            6,980.21
       4.   Share Class: Ordinary           Par Value: 0.01                 Currency: ILS
            No. of Shares: 2,719,184        Registered Share Capital:       Issued Share Capital: 9,807.72
                                            27,191.84

      SHAREHOLDERS
       1.   Name: Narect Limited       ID no.: 000453412
            ID Type: Foreign corporation Appointment Date: 25-Dec-2011

            Holding: 258,712 Preferred A Shares bearing a par value of ILS 0.01, through ordinary holding
       2.   Name: Michal International Investments LLC       ID no.: 043452440
            ID Type: Foreign corporation Appointment Date: 26-May-2014

            Holding: 17,135 Preferred B Shares bearing a par value of ILS 0.01, through ordinary holding
       3.   Name: Rowan Marc        ID no.: 113098929
            ID Type: Foreign citizen Appointment Date: 17-Jun-2014

            Holding: 13,639 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       4.   Name: Angulo Isle of Man Limited Partnership        ID no.: 120491C
            ID Type: Foreign corporation    Appointment Date: 26-May-2014

            Holding: 50,849 Ordinary Shares bearing a par value of ILS 0.01, through ordinary holding
       5.   Name: Joseph Zeevi      ID no.: 13377791
            ID Type: Foreign citizen Appointment Date: 14-Oct-2007

            Holding: 90,000 Ordinary Shares bearing a par value of ILS 0.01, through ordinary holding
       6.   Name: Grandwin Enterprises Limited        ID no.: 1406638

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            ID Type: Foreign corporation        Appointment Date: 3-Jul-2017

            Holding: 12,323 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       7.   Name: ICH Group Ltd.       ID no.: 1440119
            ID Type: Foreign corporation         Appointment Date: 3-Jul-2017

            Holding: 2,487 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       8.   Name: QIFEI International Development Co. Ltd.        ID no.: 1523273
            ID Type: Foreign corporation        Appointment Date: 17-Jun-2017

            Holding: 137,381 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       9.   Name: Grandbase Resources Limited        ID no.: 1621888
            ID Type: Foreign corporation      Appointment Date: 3-Jul-2017

           Holding: 6,215 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       10. Name: Constatino Investments Limited        ID no.: 1663906
           ID Type: Foreign corporation        Appointment Date: 21-May-2014

           Holding: 244,169 Preferred B Shares bearing a par value of ILS 0.01, through ordinary holding
           45,399 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       11. Name: Right Trend Global Limited       ID no.: 1884469
           ID Type: Foreign corporation       Appointment Date: 3-Jul-2017

           Holding: 24,874 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       12. Name: Craft Visions Limited     ID no.: 1888474
           ID Type: Foreign corporation        Appointment Date: 3-Jul-2017

           Holding: 123,229 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       13. Name: ICH Gemini Asia Growth Fund PTE Ltd.         ID no.: 201523484K
           ID Type: Foreign corporation      Appointment Date: 3-Jul-2017

           Holding: 24,874 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       14. Name: SVIC No.25 New Technology Investment LLP           ID no.: 2148009510
           ID Type: Foreign corporation        Appointment Date: 2-Jul-2017

           Holding: 27,476 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       15. Name: Galil Uziah        ID no.: 2168524
           ID Type: Israeli citizen    Appointment Date: 2-Jul-2017
           Address: 2 Costa Rica, Haifa
           Holding: 2,335 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       16. Name: Mail Cooperatief U.A.         ID no.: 2225541
           ID Type: Foreign corporation          Appointment Date: 17-Jun-2014

           Holding: 30,310 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       17. Name: Berggruen Holdings Ltd.       ID no.: 259579
           ID Type: Foreign corporation        Appointment Date: 17-Jun-2014

           Holding: 34,345 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       18. Name: Clifton Capital LP     ID no.: 2943610
           ID Type: Foreign corporation        Appointment Date: 2-Jul-2017


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           Holding: 14,610 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       19. Name: Igal Raichelgauz        ID no.: 304362270
           ID Type: Israeli citizen    Appointment Date: 2-Jul-2017
           Address: 11 Hanadiv St., Herzliya
           Holding: 263,131 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       20. Name: Karina Odinaev         ID no.: 311947436
           ID Type: Israeli citizen Appointment Date: 2-Jul-2017
           Address: 16 Hahavazelet, Nesher
           Holding: 20,424 Ordinary Shares bearing a par value of ILS 0.01, through ordinary holding
       21. Name: Nira Hirsch        ID no.: 31359110
           ID Type: Israeli citizen    Appointment Date: 12-Aug-2014
           Address: 40 Itzhak Sadeh, Nahariah Post-code: 22309
           Holding: 3,414,130 Ordinary Shares bearing a par value of ILS 0.01, through ordinary holding
       22. Name: Roxy Link Limited         ID no.: 39404
           ID Type: Foreign corporation           Appointment Date: 3-Jul-2017

           Holding: 6,130 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       23. Name: Dan Nahmias            ID no.: 40397408
           ID Type: Israeli citizen     Appointment Date: 17-Jun-2014
           Address: 13 Haetrog St., Savion
           Holding: 3,031 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       24. Name: Alon Ruth          ID no.: 50484567
           ID Type: Israeli citizen Appointment Date: 2-Jul-2017
           Address: 29 Izhak Greenboim, Haifa, Post-code: 3491011
           Holding: 1,825 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       25. Name: Stone Aaron           ID no.: 505425242
           ID Type: Foreign citizen Appointment Date: 17-Jun-2017

           Holding: 13,639 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       26. Name: Technion Institute for R&D Ltd.          ID no.: 210097918
           ID Type: Company         Appointment Date: 14-Oct-2007
           Address: 0 Chicago Blvd, Haifa Post Code: 3200000
           Holding: 32,400 Ordinary Shares bearing a par value of ILS 0.01, through ordinary holding
       27. Name: IBI Trust Management Ltd.           ID no.: 515020428
           ID Type: Company         Appointment Date: 22-Feb-2018
           Address: 27 Ahad Ha’am, Tel Aviv – Yafo, Post Code: 6525101
           Holding: 41,731 Ordinary Shares bearing a par value of ILS 0.01, through ordinary holding
           5,000 Ordinary Shares bearing a par value of ILS 0.01, on trust
       28. Name: Zimran Zvi         ID no.: 51818003
           ID Type: Israeli citizen     Appointment Date: 6-Feb-2008
           Address: Zichron Yaakov
           Holding: 1,747 Ordinary Shares bearing a par value of ILS 0.01, through ordinary holding
       29. Name: Goldberg Avi          ID no.: 56468085
           ID Type: Israeli citizen     Appointment Date: 6-Feb-2008
           Address: 3 Simtat Aharon, Haifa
           Holding: 1,748 Ordinary Shares bearing a par value of ILS 0.01, through ordinary holding
       30. Name: Art99 Foundation LLC           ID no.: 5734711
           ID Type: Foreign corporation           Appointment Date: 3-Jul-2017

           Holding: 6,141 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       31. Name: Avi Omsy        ID no.: 57819385

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             ID Type: Israeli citizen Appointment Date: 6-Feb-2008
             Address: 92 Hakovshim St., Zichron Yaakov
             Holding: 1,747 Ordinary Shares bearing a par value of ILS 0.01, through ordinary holding
       32.   Name: Zeevi Yehoshua         ID no.: 6120372
             ID Type: Israeli citizen Appointment Date: 14-Oct-2007
             Address: 36 Givat Downs St. Haifa
             Holding: 180,000 Ordinary Shares bearing a par value of ILS 0.01, through ordinary holding
       33.   Name: Lichter Eliahu       ID no.: 6179824
             ID Type: Israeli citizen Appointment Date: 6-Feb-2008
             Address: 76 Herzl, Haifa
             Holding: 1,747 Ordinary Shares bearing a par value of ILS 0.01, through ordinary holding
       34.   Name: Bunen Rami         ID no.: 6379515
             ID Type: Israeli citizen   Appointment Date: 25-Dec-2011
             Address: 52 Hamaaplim, Nahariah
             Holding: 13,379 Ordinary Shares bearing a par value of ILS 0.01, through ordinary holding
       35.   Name: Puccini World Limited         ID no.: 681244
             ID Type: Foreign corporation          Appointment Date: 26-May-2014

           Holding: 162,779 Preferred B Shares bearing a par value of ILS 0.01, through ordinary holding
           30,266 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       36. Name: San Jeremy        ID no.: 720084759
           ID Type: Foreign Citizen       Appointment Date: 3-Jul-2017

           Holding: 3,668 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       37. Name: Amram Filip        ID no.: 9741222
           ID Type: Foreign Citizen       Appointment Date: 28-Mar-2018
           Address: Italy
           Holding: 12,574 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
           13,738 Ordinary Shares bearing a par value of ILS 0.01, through ordinary holding
       38. Name: Brew PR EQ LLC         ID no.: A183812
           ID Type: Foreign corporation        Appointment Date: 17-Jun-2014

           Holding: 1,869 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       39. Name: Oliver Haarmann        ID no.: C4YMYJ997
           ID Type: Foreign corporation        Appointment Date: 17-Jun-2014

           Holding: 10,103 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       40. Name: Dionisues Julianto Awy       ID no.: E4278084E
           ID Type: Foreign Citizen      Appointment Date: 3-Jul-2017

           Holding: 3,169 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       41. Name: Kumar Vindon         ID no.: E4637697F
           ID Type: Foreign Citizen      Appointment Date: 3-Jul-2017

           Holding: 2,492 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding
       42. Name: Wong Oi Chi       ID no.: K03965683
           ID Type: Foreign Citizen Appointment Date: 3-Jul-2017

             Holding: 1,232 Preferred C Shares bearing a par value of ILS 0.01, through ordinary holding



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      DIRECTORS
       1.   Name: Igal Raichelgauz       ID no.: 304362270
            ID Type: Israeli citizen  Appointment Date: 2-Jul-2017
            Address: 11 Hanadiv St., Herzliya
       2.   Name: Karina Odinaev       ID no.: 311947436
            ID Type: Israeli citizen Appointment Date: 2-Jul-2017
            Address: 16 Hahavazelet, Nesher
       3.   Name: Zeevi Yehoshua        ID no.: 6120372
            ID Type: Israeli citizen Appointment Date: 14-Oct-2007
            Address: 36 Givat Downs St. Haifa

       * NO ANNUAL FEE DEBT TO THE COMPANIES REGISTRAR *



       ACTIVE PLEDGES
       For pledges registered prior to 12-Nov-2017 – for the current status, the description of the collateral
       should be read jointly with the list of changes to the pledges.
       For pledges registered after 12-Nov-2017 – the description of the collateral reflects its current
       status and includes changes made after registration of such collateral. The list of changes to the
       pledge indicates the dates of updating the changes and the types of changes made.
       PLEDGE NO.: 4                    REG. DATE: 6-Jul-2016                  CREATION DATE: 30-Jun-2016
       GENERAL DETAILS OF THE PLEDGE
       REG. DATE: 6-Jul-2016            TYPE OF PLEDGE: LOAN DEED
       RANK OF PLEDGE: --               SECURED AMOUNT: USD
                                        800,000.00
       There is a restriction on making a pledge or transfer of assets without the consent of the holder of
       the pledge
       PLEDGED ASSETS
       REG. DATE: 6-Jul-2016            ASSET CLASS: Money
       ASSET DESCRIPTION:               A fixed, first-ranked pledge over existing cash held with Bank
                                        Hapoalim, Branch 537, account 554475 of an amount of USD
                                        800,000 thousand [sic] transaction number 354782417 including
                                        interest.
                                        Special terms: Not to pledge or transfer without the consent of the
                                        holder of the pledge
       TRUSTEE/LENDER
       REG. DATE: 6-Jul-2016            Bank/corp. No. 520000118
       Name of Trustee/Lender: Bank Hapoalim Ltd.
       PLEDGE NO.: 7                    REG. DATE: 18-Jan-2018                 CREATION DATE: 2-Jan-2018
       GENERAL DETAILS OF THE PLEDGE
       REG. DATE: 18-Jan-2018           TYPE OF PLEDGE: Floating/specific
                                        Pledge
       RANK OF PLEDGE: first-rank       SECURED AMOUNT: ILS 198403.00
       There is a restriction on making a pledge or transfer of assets without the consent of the holder of
       the pledge
       PLEDGED ASSETS
       REG. DATE: 18-Jan-2018           ASSET CLASS: OTHER
       ASSET DESCRIPTION:               A fixed, first-ranked pledge over a foreign currency deposit number
                                        354921412 totaling USD 59,000 with no limitation on amount over

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                                             the existing amount held with Bank Hapoalim, Branch Yahalom 537,
                                             account 554475 transaction number 354921412 including interest.
       TRUSTEE/LENDER
       REG. DATE: 18-Jan-2018       Bank/corp. No. 12-537
       Name of Trustee/Lender: Bank Hapoalim Ltd., Yahalom


      INACTIVE PLEDGES
      Pledge no: 1   Reg. Date: 31-Mar-2015 Creation date: 26-Mar-2015 Clearance date: 8-Jan-2018
      Nature of pledge: loan deed                  secured amount: USD 160000.00
      Pledge no: 2   Reg. Date: 3-Sep-2015 Creation date: 30-Aug-2015 Clearance date: 8-Jan-2018
      Nature of pledge: loan deed
      Pledge no: 3   Reg. Date: 3-Sep-2015 Creation date: 30-Aug-2015 Clearance date: 8-Jan-2018
      Nature of pledge: loan deed                  secured amount: USD 300000.00
      Pledge no: 5   Reg. Date: 14-Dec-2016 Creation date: 12-Dec-2016 Clearance date: 6-Jan-2019
      Nature of pledge: loan deed                  secured amount: USD 158457.00
      Pledge no: 6 Reg. Date: 14-Dec-2016 Creation date: 12-Dec-2016 Clearance date: 23-May-2018
      Nature of pledge: loan deed                  secured amount: USD 60000.00




      CHANGES TO THE COMPANY
      Change in Articles of Association
      1. REG. DATE: 18-Sep-2007                                      RESOLUTION DATE: 13-May-2007
      2. REG. DATE: 26-Mar-2008                                      RESOLUTION DATE: 19-Aug-2007
      3. REG. DATE: 16-Jun-2008                                      RESOLUTION DATE: 12-May-2008
      4. REG. DATE: 26-Dec-2011                                      RESOLUTION DATE: 10-Aug-2011
      5. REG. DATE: 8-Jun-2014                                       RESOLUTION DATE: 16-Feb-2014
      6. REG. DATE: 17-Aug-2014                                      RESOLUTION DATE: 17-Jun-2014
      7. REG. DATE: 22-Feb-2017                                      RESOLUTION DATE: 8-Dec-2016



       * NO CHANGE IN STATUS *
       This extract was prepared on the basis of information stored on the Registrar of Companies'
       computers on: 5-May-2019 time: 12:00

       This company or partnership extract constitutes a summary of the computerized data stored with the Corporations
       Authority, which is provided as a public service, based on information received by the authority. The information included
       in this extract may be incomplete, imprecise or outdated. One should not rely on the information appearing in this extract
       as it does not constitute a registry managed by the Corporations Authority by law.
       To review the information and reports submitted to the Registrar of Companies or Registrar of Partnerships as required by
       law, the corporation's file ought to be reviewed. It should be emphasized that the information included in the company
       file with respect to company shareholders and directors as well as additional details are only of a declarative nature and
       does not serve as a substitute for the information maintained in the company's own registries maintained in the
       company's registered offices that are open to the public.
       The extract may also include a summary of information received from other state authorities, for example the
       Enforcement and Collection Authority, the Official Receiver and the Court System, which is also provided as a public
       service. The information may be incomplete or outdated, it should not be relied upon and the authorized state authority
       should be contacted and the information held by them should be reviewed.




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                                   Annex 2
      Background on Cortica, from Wikipedia and several
               articles describing its activities.
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       The holy grail: will Cortica be the next Mobileye?
       The Israeli Cortica uses artificial intelligence to help vehicles deal with urban chaos. ■ The
       company raised approximately USD 70 million, from the billionaire Li Ka Shing among others.

       09:54, December 5, 2017 Dubi Ben-Gedalyahu




          Igal Raichelgauz and Karina Odinaev / photographer: Liran Shitrit

       Several days ago, I came across a traffic circle in the heart of the German colony in Haifa which
       the locals call "the grinder." Traffic reaches the circle comes from four different directions, and
       there are two lanes in each direction. In one part of the circle is a traffic light with pedestrian
       crossings on the sides and the famous Metronit bus system passing nearby. There is no such thing
       as the right of way in this urban combat zone, and on this particular day, there was a special delight
       in the form of garbage on one of the lanes, which forced drivers to zigzag when they were passing
       other cars. To make a long story short, it was a rather typical transportation hell.

       In order to pass through this roundabout, the drivers have to drive in a very specific way that is
       not for the timid: you have to look in three directions simultaneously while making eye contact
       with the drivers crossing the circle in order to assess their determination/sanity, anticipate when
       the traffic lights will change, ignore the constant honking, and wade in with the knowledge that
       you may have to brake, accelerate, or climb onto the traffic island in the middle at any instant.
       Now imagine yourselves sitting in an autonomous car in which the computer is supposed to bring
       the car to the other side of the roundabout by maneuvering between non-autonomous vehicles.

       The key to an autonomous vehicle: artificial intelligence

       In attempting to translate intuitive "driving policy" acquired from human experience into the
       language of algorithms and programming, in which the autonomous vehicle's computer "sees"
       and "thinks," you run head on into a technological barrier. Autonomous vehicle engineers and
       developers of smart sensors and components now know how to detect vehicles, pedestrians, road
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       signs, and road obstacles under different road conditions, but merging data from dozens of
       sensors in order to predict the traffic makes it necessary to process a massive amount of visual
       information in real time. Estimates are that each autonomous vehicle will create 4,000 gigabytes
       of visual information on a typical day's driving.

       The solution now being adopted by the auto industry is to use machine vision and artificial
       intelligence (AI) in order to give the sensors and data processors in the vehicle capabilities similar
       to those of human vision - from absorption of a massive stream of information to filtering,
       processing, and translating the information into action. This technology is already attracting a
       multi-billion dollar per-year market with dozens of startups, and is now changing the way work is
       done in espionage, medicine, marketing, and so on. The autonomous vehicle, however, poses a
       serious challenge, due to the complex interactions of the road and the need for a "driving policy"
       mentioned earlier.

       The current prevailing approach to designing AI systems for an autonomous vehicle is "supervised
       study." In other words, if you want your system to be able to independently detect a road sign or
       marking, you have to feed into it a very large amount of catalogued examples of that road sign
       under various lighting and climate conditions, so that it will issue alerts about them by honking (in
       passive systems) or respond to them by independent braking, for example.

       This method, however, requires a great deal of time and "learning" resources, and it is far from
       perfect. Its detection and adaptation ability is only as good as the information fed into it during
       learning, and the result is liable to be false alarms or detection failures. When a traffic light, road
       sign, or oncoming vehicle is involved, 99% accuracy is just not good enough.

       What the auto industry is really looking for now are AI systems with self-learning capability - what
       is sometimes also called "unsupervised learning" - systems that can perform the process from the
       bottom up, i.e. independently achieve detection and conclusions according to the data gathered
       on the road, rather than from the top down, i.e. through preprogrammed examples.

       This is generally considered the “holy grail” of the AI sector, and it is a distinct possibility that the
       search for it will specifically lead the auto industry to Israeli company Cortica, which has developed
       AI technology with self-learning capability.

       Ambitious goal, proven technology

       Cortica is absolutely not a typical startup. The company was founded in 2007 on the basis of
       research conducted in 2003-2007 for the purpose of "hacking" into the human brain and
       translating its method of operation into algorithms. The company calls this "the borderline
       between brain science and AI" or "reverse engineering" of the human brain. It has produced an
       algorithm that imitates the way information is processed in the brain, and enables the system to
       learn without supervision - like children independently learning about the world around them. If
       that sounds very mysterious to our readers, they are not the only ones. Up until recently, many
       people in the sector also asserted that such capabilities could not be achieved with the existing
       technology.

       The goal of the initial research was to understand what the basic calculation unit of the cerebral
       cortex is, how it learns, and what is the simplest mathematical model that can reproduce these
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       capabilities in a computer. Since some of the founders are IDF Intelligence Unit 8200 alumni, the
       company realized the security potential of the findings.

       Since it was founded, Cortica has remained largely below the media radar screens, although
       sources in the sector are aware of its considerable business and technological accomplishments
       in the security field. These applications include self-analysis of large databases and activity in the
       field of unmanned aerial vehicles. Cortica's technology can independently and rapidly go over the
       many hours of video that create such tools and produce insights from them, such as location of
       suspects in population centers and monitoring objects.

       The company does not like to talk about financial matters. According to the Crunchbase website,
       however, it has raised nearly $70 million to date in three rounds, the most recent of which was in
       December last year, when it raised $30 million in a round led by major investment companies from
       Hong Kong and Russia.

       The company started working in the autonomous vehicle sector last year, having developed
       successful internet and mobile communications products in recent years, mainly in the Asian
       markets.

       "After the last large-scale round, we considered new development horizons," says Cortica
       cofounder and CEO Igal Raichelgauz. "We entered the autonomous vehicle sector because of the
       enormous quantity of information it is expected to generate - almost 4,000 gigabytes per vehicle
       per day. In order to handle information on this scale, you need autonomous machines with an
       autonomous brain that can collect basic information from its surroundings, identify it, and
       accumulate 'experience' like a human driver. We therefore concluded that the auto industry is
       much more relevant."

       The company makes very impressive claims on its website; some will call them overambitious. The
       company asserts that it has developed "artificial intelligence that can understand images at a
       human level" and "Even the most complex technologies could not understand the visual world in
       the same way that people do - until now. By utilizing brain research in order to create an AI system
       with self-learning capability, Cortica has developed the most effective computer vision system
       ever seen."

       The company's claims are backed with a store of nearly 200 patents requested for its technology.
       Over 50 of these have already been accepted, and the rest are in the approval process. According
       to a report by Insight, this is the largest number of patents by a single AI company. Assuming that
       this technology is successfully translated to the autonomous vehicle sector, it will be a very
       significant breakthrough, and the vehicle and chip industries will be willing to give an arm and a
       leg to obtain exclusivity for it.

       Raichelgauz says that what his company has is not a theoretical solution; it is a product based on
       mature and available technology. "We already have a solution for the auto industry at the level of
       a product that works," Raichelgauz says. "The system is indifferent to the hardware infrastructure
       on which it operates, and can handle information to the same degree from a variety of sensors,
       including radar, camera sensors, supersonic sensors, and others." Raichelgauz reveals that the
       product is already being tested by three major auto industry companies, two of which are
       including it in their computer platforms. The technology is being integrated in the development
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       plan for autonomous vehicles scheduled to be built in the next two or three years. Cortica's
       product builds an environmental model (a computerized status report) in real time and facilitates
       prediction for the purpose of real-time responses. The technology also makes it possible to fuse
       information from a large number of sensors into one digital signature.

       Predicting what will happen on the road

       "The usual solution today in AI is deep learning," Raichelgauz says. "This is a slow process. In the
       system developed by Cortica, the 'brain' learns the rules of the game by itself, labels the
       information, and reaches conclusions, like children learning to understand their surroundings.
       What is special about Cortica's technology is not only its self-learning capability, but also that it is
       transparent, transferrable, and verifiable."

       This may be the right place to interject that due to the complexity of the AI processes, a great
       many commercial solutions are now being offered through the "black box method": data are fed
       into the system and the processed results are received, without any ability to monitor and
       understand exactly how the system reached those conclusions. This is a considerable problem for
       systems that are responsible for people's lives and safety, and regulators worldwide, e.g. in the
       EU, are now having to enact regulations in the matter.

       Typical “deep learning” systems also have trouble accumulating knowledge and transmitting it to
       systems, which forces those operating new systems "to study them from scratch." Another weak
       point of the common deep learning methods is the difficulty in predicting the system's
       performance. After each AI “training”, the performance is likely to be completely different.

       Cortica's system, on the other hand, creates digital "signatures" that represent known concepts
       from the information world. A signature can indicate, for example, some kind of systematic
       connection when the system is being tested and a sample link (image and object) that explain the
       reason for the failure. The "experience" accumulated by the system can be transmitted from one
       vehicle to another, and between systems. "The system makes it possible to monitor the AI process
       of 'thinking' and drawing conclusions, and to assess it according to supervisory and performance
       criteria," Raichelgauz says.

       The solution that the company is offering for an autonomous vehicle is multi-system. Its system
       accumulates a profound understanding of the vehicle's immediate surroundings, and
       simultaneously identifies over 10,000 “generic” objects, such as vehicles and trucks, pedestrians,
       traffic situations, and more. For example, the resolution is good enough to identify a pedestrian
       on a hoverboard or one holding a mobile telephone.

       The system can decode complicated situations in their context, and create a system of
       probabilities about the observed object's next action, including additional objects entering the
       frame. Try to imagine a ball rolling onto the road when the car predicts that there is a possibility
       that a child will then also appear on the given route, and simultaneously assess the response to
       the situation by the cars in front and on the sides, which are moving at different speeds. In
       addition, the system also maps the surroundings at a high level, with a constant monitoring of
       changes in the surrounding infrastructure and objects and potential for using them for mapping
       and information gathering - like the project that Mobileye is now trying to promote globally.
       Cortica's technology is based on digital signatures that generically represent all the sensor
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       information coming from the real world. One of the main uses of signatures is for mapping the
       space and precise location of the objects in it, including an extremely accurate location of the
       vehicle itself.

       While the existing mapping technologies, such as that of Mobileye, are based on anchors -
       predefined objects such as traffic lights and road signs, Cortica's signature utilizes every pixel in
       the image for anchoring and mapping. For example, in driving on a dirt road, Cortica's signatures
       are put next to boulders and specific road formations, making it possible to maintain precise
       mapping. Because Cortica's technology is indifferent to the type of sensors and the type of
       hardware, it complements Mobileye's technology, instead of competing with it.

       Cortica's technology can provide the auto industry and other industries with an important and
       financially significant breakthrough. Taking into account the red-hot market and the values of
       companies in it, the numbers are very large.

       In contrast to many companies in the sector that we recently talked to, Cortica appears
       unimpressed by the large amounts, and is not making an exit or IPO a top priority. "We have no
       interest in an IPO or large-scale financing round right now," Raichelgauz declares. "At the moment,
       we're looking for strategic partnerships with important players, preferably tier-1, who will give us
       the ability to utilize the technology in products that will be included in vehicles." Meanwhile, the
       company is making an effort to recruit dozens of employees from various areas, while its current
       employees include experts in various fields, including physics, mathematics, brain science, and AI
       specialists.

       Notwithstanding, we still remember the visionary speeches made by Mobileye (and others) prior
       to their IPOs and exits, and as Mobileye proves, everyone has a price. In Cortica’s case it appears
       that it holds the key to a door which many people are trying to open including the Chinese, the
       chip giants, vehicle manufacturers, the giant internet companies and perhaps even Mobileye
       itself. Therefore, we won’t be surprised if, in Cortica’s case the number is made up of USD ten
       figures.

       Toyota invests in the Tel Aviv start-up which develops sensors for the internal part of the vehicle

       Toyota is one of the investors in Israeli startup Guardian Optical Technologies, which has
       announced that it completed its first financing round, in which it raised $5.1 million. Guardian
       Optical, which was founded in 2015, has developed an optical sensor for the interior of a vehicle
       that makes it possible to detect very small movements and create video data and a depth map of
       the vehicle. Guardian Optical founder and CEO Gil Dotan says that the sensor's quality and diverse
       uses make it possible to reduce the number of sensors installed in each car. Reducing the number
       of sensors is expected to save $20 on the production of each car and $200 million a year in total
       savings for the auto industry.

       Toyota invested in the round through the Mirai Creation fund, which it founded two years ago
       with the SMBC bank and the Sparx investment group. Toyota provides most of the fund's
       financing, but the fund's manager is Sparx CEO Shuhei Abe. Following the financing round, Abe
       said, "Our task is to support innovative companies with clear growth potential that are likely to
       lead the field decades into the future. We expect the technology developed by Guardian Optical
       to continue developing and succeeding."
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       Speaking about the financing round by Toyota, Dotan told Globes," This is the first time that they
       are investing in an Israeli company, and it makes me feel very proud. Toyota is a very intriguing
       and supportive investor." Beyond the pride and the improved access to the auto manufacturers
       market, the investment is also important as an early sign of a possible future acquisition of
       Guardian Optical by Toyota, similar to the acquisition of Herzliya-based Visualead by Alibaba two
       and a half years after Alibaba first invested in the Israeli company.

       About the product itself, Dotan said, "There are many great sensors companies providing the
       automakers with eyes for understanding what is happening outside the vehicle. We're giving the
       automakers the ability to understand in depth the situation within the vehicle. Our vision is to
       create the ultimate sensory platform within the vehicle that will enable the manufacturers to be
       better aware of the passengers, and thereby to improve the travel experience, offer services
       during the time we spend in the vehicle, and improve safety."

       According to Dotan, Guardian Optical is in constant contact with several manufacturers with the
       aim of installing its sensor early in the next decade. One of the challenges is to write a specification
       to which other suppliers of auto manufacturers will adapt themselves.

       "What is special about our sensor is that it makes it possible to eliminate special sensors for each
       system, for example the sensors for air cushions and seat belts," Dotan explains. "We are able to
       achieve high resolution for a very large amount of information, and this has great business value.
       For example, one of the uses is monitoring the behavior of passengers in the autonomous cars
       that will soon be on the road in order to adapt the passenger compartment to the new way in
       which travel will take place. Another use is for autonomous vehicle fleets, which will be able to
       tell remotely exactly when passengers entered and exited from their cars. Still another possible
       use of the sensor is making sure that no one has been left inside the car, such as children in the
       back seat."

       Tel Aviv-based Guardian Optical has 14 employees, most of them physicists and algorithm
       developers. The company chairman is Alon Atsmon, former VP technology strategy at Harman
       International, whose Israeli branch has acquired companies in cyber security and software
       updating for the auto industry in recent years. Guardian Optical plans to increase its staff to at
       least 30 in the coming year, a challenge that the company calls "good troubles," given the intense
       competition for technology personnel. The company hopes that the technological challenge and
       high profile of the autonomous vehicle industry will tempt the best physicists and algorithm
       developers, "because we're doing something good in the world."

       Cortica

       Founders: Igal Raichelgauz (CEO), Karina Odinaev and Professor Yehoshua (Shuka) Zeevi

       Year established: 2007

       No. of employees: 100, most in Tel Aviv. Currently the company is hiring dozens more developers

       Fundraising: Approximately $70 million

       Investors: Uziah Galil, Samsung, Li Ka Shing, Mail.ru, Qihoo and others.
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     Business Technology

     “Our System Autonomously Identifies Unusual Events in Kindergartens
     and Will Assist in Creating an Autonomous Car”
     An advanced system developed by Cortica identifies unusual behaviors in real-time, including
     violence. The company’s CEO: “It identifies whether the child is properly taken care of, and
     can analyze his or her facial expressions.”
     Stav Namer September 9, 2018, 08:49 AM            Reading time: 3 minutes

     Tags: Kindergartens / violence / artificial intelligence / Cortica




     Kindergarten. Illustration (The people in the photograph have no connection to the article.) (Photo: Reuters)

     Although daycare centers, kindergartens and schools should be safe places for our children, without
     adequate supervision, these places can be a real danger for them. The role of the new system developed
     by hi-tech company Cortica is to assuage parents’ concerns.

     Any parent placing his child in the care of a caretaker at home or in any educational institute wants to
     know that the child is in good hands, especially with toddlers, who cannot share their day-to-day
     experiences with their parents. Although nowadays many kindergartens have installed security cameras
     of different types, as deterrence, no camera can alert in real time. Cortica, which was founded
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     approximately 11 years ago by Karina Odinaev, Igal Raichelgauz and Prof. Yehoshua Zeevi, developed
     a system based on artificial intelligence with the purpose of answering exactly this need.

     This technology allows computers to independently learn about the world around them without human
     assistance. The company’s founders deciphered the activity created in living brain tissue. Hacking into
     the brain reflected how the brain works with visual information, and those patterns of activity taking
     place in neurons were copied to software which can understand the world on the basis of visual
     information. The innovative technology is called “autonomous artificial intelligence” and allows
     computers to learn without limitation, like we humans do from birth, using our brain and eyes.

     “In recent months, the media reported many cases of abuse taking place in kindergartens and
     educational institutes. Such publications caused many organizations to contact us with a request to
     examine whether we have a suitable solution,” said Raichelgauz, the company’s CEO. “We developed
     a technology based on artificial intelligence. It receives a vast quantity of signals, in this case images
     from security cameras, and succeeds in alerting different factors the moment it identifies something
     unusual. The system can recognize when a child is sleeping, how activities were conducted over the
     day in the kindergarten, whether staff smoked near the children or failed to adequately look after them.”
     It should be noted that beyond supervision over the institute’s staff, the system can also produce for the
     parent a short daily video summary of the child’s activities in the institute.

     Recently, the company started looking for kindergartens and preschools in which to assimilate this
     technology. The system processes the information captured by an ordinary kindergarten, without
     violence, and in fact learns what adequate care looks like. In this way, the system will be able to more
     successfully identify unusual violent activity. “It needs to recognize the kindergarten’s routine, and
     once it learns it, it can identify deviations from the routine – like different violent events or a situation
     where the children go out to the garden without adult supervision. There are also emotional elements
     here, such as analyzing the children’s facial expressions, which can hint in real-time at what is going
     on in the kindergarten,” said Raichelgauz, who emphasized that the company does not store the images.
     “The cameras installed at present in most kindergarten do not enable rewinding anyway, so that material
     cannot leak outside, and they are used only as deterrence against hurting the children.”

     He added that another use of this innovative technology is integrating it in autonomous cars: “It would
     allow the car to understand situations on the road and prevent accidents. In addition, this technology
     could assist medical teams in analyzing different test results, by pointing to certain deviations.”

     Raichelgauz revealed that the company was requested to analyze the fatal accident involving an Uber
     vehicle several months ago, in which it ran over and killed a pedestrian. “Our system recognized the
     pedestrian when she was wearing black cloths in the dark, so it is unclear why Uber’s system failed to
     recognize her. I believe that the shift to autonomous cars will happen only in several years, and
     gradually they will get safer.”

     About half a year ago, when billionaire Elon Musk visited Israel, Maariv-Online revealed that he met
     with the company’s representatives. Raichelgauz refused to respond but emphasized: “we are currently
     working with several big corporations from around the world.”

     Comments, proposals and suggestions by email: Techeditor.101@gmail.com
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     Cortica Developed Autonomous AI for Autonomous Cars
     January 13, 2019

     Unlike AI systems like Mobileye’s, Cortica’s algorithms learn without advance instructions and
     without tagging, giving them greater accuracy and complexity. Cortica will now cooperate with
     Japanese company Renesas in the automotive field




     Artificial intelligence technologies, such as deep learning and neural networks, are commonly
     compared to the way the human brain works. However, while the human brain learns about the world
     independently from free observation of reality, computer-sensing artificial intelligence systems do not
     learn, but are trained, in a guided and methodic way, to recognize only predefined objects, which
     significantly reduces the number of understandings they can produce from their environment.

     Cortica, a company from Tel Aviv, developed an “autonomous” artificial intelligence platform, which
     can learn about objects in its surroundings independently and without guidance, without relying on
     huge databases of tagged images. According to the company, its technology offers more accurate and
     complex identification abilities compared to the existing systems, this while using incomparably less
     computing power. Last week, the company reported its first collaboration in the field of smart vehicles,
     with Japanese chip giant Renesas.

     In a conversation with TechTime, Cortica’s CEO, Igal Raichelgauz, discussed the theoretical
     foundations of the technology developed by the company. “Our goal was to take AI systems, which at
     present are very different from the human brain, and make them more similar to how the cortex works.
     People learn in an unsupervised manner, by looking at their environment and through our ability to
     recognize common elements and create representations that allow us to attribute similar objects to
     general categories.”
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     Learning without a trainer
     To train deep learning or neural network systems to identify a certain category of objects in the world
     – for example, pedestrians or traffic signs – the system must be fed millions, and sometimes billions,
     of examples of images presenting the target object in countless different visual contexts (angle, lighting,
     size, color etc.). For the computer to be able to understand what is presented in the images and build a
     model to allow it to identify such object after the training process, it is necessary to tag the objects
     appearing in each and every image. The tagging process is usually performed manually by humans.
     This is how Mobileye’s algorithms, for example, operate in the field of computer vision for vehicles.

     This method suffers from a number of disadvantages: the training process is long and costly, and often
     the system’s level of accuracy is imperfect, leading to difficulties in identifying extreme cases. Most of
     all, the most significant disadvantage, which differentiates these technologies from the human brain, is
     that the system only learns about the predefined object, without characterizing patterns and contexts
     about other objects appearing in the environment.

     On the other hand, in unsupervised learning, the system learns about the reality without tagging or
     predefinition. In fact, such algorithms analyze the raw information and look for points of similarity and
     difference, recurring patterns and relations between objects in space, and therefore are capable of
     producing many more understandings about reality, which were not predefined by the human trainer.

     An autonomous car needs autonomous artificial intelligence




     CEO of Cortica, Igal Raichelgauz

     Cortica was established more than a decade ago, much before the current buzz in the field of artificial
     intelligence and the penetration of these technologies into almost every industry. In the beginning, the
     company focused on developing artificial intelligence applications for the defense sector, for example
     deciphering aerial videos and photography and radar and lidar signals, and later on expanded into the
     mobile and internet field. Its technology was integrated in image identification in a leading browser in
     the UK, with hundreds of millions of users, as well as the Info-eye application on Sony’s Xperia Z3
     smartphone, which allowed the user, for example, to photograph a dish of food and view the number
     of calories or photograph a building and automatically receive information from Wikipedia about it.

     In the last year and a half, together with the general trends in the industry, the company started targeting
     new fields such as the smart city, IoT, and mainly the automotive industry. According to Raichelgauz,
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     unguided artificial intelligence possesses significant advantages, in the automotive industry, over
     guided artificial intelligence. “The human cortex consists of 6 layers, and is characterized by parallel
     and lateral thinking. In response to some visual signal, the cortex operates only a small part of the
     layers. On the other hand, in a computerized deep-learning system, such as that of Mobileye, neural
     networks with hundreds of layers are used, which requires significant computational power.”

     “Our system learns how to identify without guidance and without tagging, simply out of an analysis of
     random images and identifying generalizations and common elements that create categories. This is the
     difference between Cortica and what’s happening in the market. Like the human brain, our algorithms
     create a ‘digital signature’ for each object type, and this digital signature can be easily shared with other
     vehicles. Thanks to this, our algorithms can learn a lot more information about the world – and not just
     what has been defined in advance – while using significantly less computing power.” Thus, for
     example, Raichelgauz relates that in an experiment performed by the company on Tel Aviv’s streets,
     the algorithms knew how to independently create not only obvious categories such as cars, pedestrians
     and traffic signs, but also background objects such as air-conditioners, for example.

     Last week, Cortica announced a first strategic collaboration in the automotive field with Japanese
     corporation Renesas, one of the world’s largest chip manufacturers in the field of vehicles. In this
     collaboration, Renesas will integrate the special-purpose algorithms developed by Cortica for car
     cameras in Renesas’s R-Car V3H system-on-chip, which provides computer vision capabilities to
     ADAS and autonomous driving systems.

     “Renesas is the world’s leading company in terms of number of chips in the automotive world. For us,
     this is a first collaboration with a chip manufacturer. We are in contact with several more companies,
     both Tier-1 and automotive manufacturers, and will later on announce additional collaborations.”
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                                   Annex 3
        The Registrar of Companies extract for eNitiatives
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Case 2:19-cv-00429-ES-CLW Document 58-4 Filed 05/28/21 Page 92 of 416 PageID: 1440
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       COMPANY INFORMATION, INCLUDING ACTIVE AND INACTIVE PLEDGES

       COMPANY DETAILS
       Co. No: 512836396       Legal Status: Active      Registration Date: 5-Oct-1999
       Co. Name: eNitiatives IP Ltd. [Hebrew]
       Co. Name in English: eNitiatives IP Ltd.
       Company Type: Israeli Company classification: Private Company Shareholder liability: limited
       Corporate address: 17 Moshe Shapira St., Netanya         Post-code: 4224017
       Principal Corporate Objectives: To engage in the fields of operations listed in the articles of
       association
       Last Annual Report Submitted: 2017        Registration Date: 31-Dec-2017

       SHARE CAPITAL DIVISION
       Share Class: Ordinary           Par Value: 1                           Currency: ILS
       No. of Shares: 36,000           Registered Share Capital: 36,000       Issued Share Capital: 100

      SHAREHOLDERS
       1.   Name: eNitiatives IP Ltd.     ID no.: 512836396
            ID Type: Company Appointment Date: 7-Feb-2011
            Address: 17 Moshe Shapira St., Netanya Post-code: 4224017
            Holding: 20 Ordinary Shares bearing a par value of ILS 1, through ordinary holding
       2.   Name: Marko Reuven Avraham            ID no.: 53898797
            ID Type: Israeli Citizen Appointment Date: 16-Sep-2008
            Address: 1 Yalag St, Netanya Post-code: 4224052
            Holding: 80 Ordinary Shares bearing a par value of ILS 0.01, through ordinary holding


      DIRECTORS
       1.   Name: Or Agassi         ID no.: 34721134
            ID Type: Israeli citizen     Appointment Date: 30-Dec-2015
            Address: 111 Herzl St, Tel Aviv-Yafo Post-code: 6655510
       2.   Name: Marko Ophir           ID no.: 39134077
            ID Type: Israeli citizen Appointment Date: 30-Dec-2015
            Address: 19 Fromkin Netanya Post-code 4228715
       3.   Name: Marko Reuven Avraham              ID no.: 53898797
            ID Type: Israeli Citizen Appointment Date: 11-Oct-1999
            Address: 1 Yalag St, Netanya Post-code: 4224052

       * NO ANNUAL FEE DEBT TO THE COMPANIES REGISTRAR *

       ACTIVE PLEDGES
       For pledges registered prior to 12-Nov-2017 – for the current status, the description of the collateral
       should be read jointly with the list of changes to the pledges.
       For pledges registered after 12-Nov-2017 – the description of the collateral reflects its current status
       and includes changes made after registration of such collateral. The list of changes to the pledge
       indicates the dates of updating the changes and the types of changes made.
      INACTIVE PLEDGES
                                                      1
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      Pledge no: 1 Reg. Date: 25-Dec-2001 Creation date: 16-Sep-2001 Clearance date: 29-Dec-2005
      Nature of pledge: loan deed




      PREVIOUS NAMES
       1.   Date of Change: 1-Dec-1999 Date of Resolution: 1-Dec-1999
            Previous name in Hebrew: R.M.H.H Ltd. [Hebrew]
            Previous name in English: R.M.H.H Ltd.
       2.   Date of Change: 14-Jan-2016 Date of Resolution: 23-Dec-2015
            Previous name in Hebrew: eNitiatives – New Business Architects Ltd. [Hebrew]
            Previous name in English: eNitiatives – New Business Architects Ltd.




      CHANGES TO THE COMPANY
      Change in Articles of Association
      1. REG. DATE: 1-Dec-1999                                        RESOLUTION DATE: 1-Dec-1999
      2. REG. DATE: 14-Jan-2016                                       RESOLUTION DATE: 23-Dec-2015



       * NO CHANGE IN STATUS *
       This extract was prepared on the basis of information stored on the Registrar of Companies'
       computers on: 10-Mar-2019 time: 9:11

       This company or partnership extract constitutes a summary of the computerized data stored with the Corporations
       Authority, which is provided as a public service, based on information received by the authority. The information included
       in this extract may be incomplete, imprecise or outdated. One should not rely on the information appearing in this extract
       as it does not constitute a registry managed by the Corporations Authority by law.
       To review the information and reports submitted to the Registrar of Companies or Registrar of Partnerships as required by
       law, the corporation's file ought to be reviewed. It should be emphasized that the information included in the company
       file with respect to company shareholders and directors as well as additional details are only of a declarative nature and
       does not serve as a substitute for the information maintained in the company's own registries maintained in the
       company's registered offices that are open to the public.
       The extract may also include a summary of information received from other state authorities, for example the
       Enforcement and Collection Authority, the Official Receiver and the Court System, which is also provided as a public
       service. The information may be incomplete or outdated, it should not be relied upon and the authorized state authority
       should be contacted and the information held by them should be reviewed.




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                                   Annex 4
       Search results from the website of the State of New
            Jersey Companies Registrar, for M&B.
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Case 2:19-cv-00429-ES-CLW Document 58-4 Filed 05/28/21 Page 98 of 416 PageID: 1446
Case 2:19-cv-00429-ES-CLW Document 58-4 Filed 05/28/21 Page 99 of 416 PageID: 1447



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                                   Annex 5
    USPTO website printout showing that Mr. Ben Shimon
        was certified as a patent agent only in 2012.
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Case 2:19-cv-00429-ES-CLW Document 58-4 Filed 05/28/21 Page 101 of 416 PageID: 1449
Case 2:19-cv-00429-ES-CLW Document 58-4 Filed 05/28/21 Page 102 of 416 PageID: 1450



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                                   Annex 6
          The 2008 Agreement (and Amendment thereto).
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Case 2:19-cv-00429-ES-CLW Document 58-4 Filed 05/28/21 Page 106 of 416 PageID: 1454
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                                   Annex 7
                           The 2011 Agreement.
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Case 2:19-cv-00429-ES-CLW Document 58-4 Filed 05/28/21 Page 113 of 416 PageID: 1461
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Case 2:19-cv-00429-ES-CLW Document 58-4 Filed 05/28/21 Page 116 of 416 PageID: 1464
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                                   Annex 8
     Amendment to the 2011 Agreement, dated February 28,
                           2013.
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Case 2:19-cv-00429-ES-CLW Document 58-4 Filed 05/28/21 Page 120 of 416 PageID: 1468



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                                   Annex 9
        Adv. Agassi’s email dated December 21, 2015 and
     attachments thereto, as well as the reminder email dated
                      December 27, 2015.
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Case 2:19-cv-00429-ES-CLW Document 58-4 Filed 05/28/21 Page 123 of 416 PageID: 1471



                                                                                                          55
                                                                                            Date: ________
    To:
    Hezekiah-Hachmon Law Firm
    6 Koifman Street, Tel Aviv 6801298
                                      Re: Termination of Engagement
    Further to our conversations and our understanding on ending the engagement, we hereby put the
    following matters in writing:
           1.      Starting from the date of this letter, the provision of your services to our company shall
                   cease.
           2.      We approve the bills detailed in the attachment and shall ensure these are paid to your
                   firm by no later than March 30, 2016.
           3.      You shall send all documents and status of work to a new service provider, whose
                   details we shall deliver to you within 7 days of the date of this letter.
           4.      We hereby confirm that we have no and shall have no argument and/or claim with
                   respect to the quality of the professional services that you have provided to us.
           5.      Following the payment of the bills detailed in Section 2, we shall owe you no additional
                   payment, and as part of this for any milestones on the date of approval of patents that
                   you worked on.
                                                                              Sincerely,
                                                                              _____________
           We hereby confirm the above,
           _______________________
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                                         Hezekiah-Hachmon Law Firm
            6 Koifman Yehezkel Street, Tel Aviv 6801298, Tel. XX-XXXXXXX, fax: 03-60811223


                                                                             Printing date: December 21, 2015
                                                                             Our ref. no: 1225

    To:

    Cortica Ltd.,12 David Khakhami St., 1st Floor
    Tel Aviv

    Dear Sir or Madam,

                                   Re: Reminder of Unpaid Transaction Invoices

    According to our records, the following bill/s sent to you have not yet been paid.

     Bill        Date         File no.   File name     Additional               Notes        Bill         Paid on     Outstanding
                                                       identification                        amount       account     balance
     3996        05/05/2015   1225/68    COR-072                                             $3,127.00    $1,590.63   $1,536.37
     3997        05/05/2015   1225/69    COR-092                                             $3,127.00                $3,127.00
     4033        15/06/2015   1225/6     COR-026       A SYSTEM AND METHODS                  $3,717.00                $3,717.00
                                                       THEREOF FOR VISUAL
                                                       ANALYSIS OF AN IMAGE
                                                       ON A WEB-PAGE AND
                                                       MATCHING AN
                                                       ADVERTISEMENT
                                                       THERETO
     4087        28/07/2015   1225/88    COR-115                                             $3,690.00                $3,690.00
     4097        14/08/2015   1225/76    COR-098                                             $3.127.00                $3,127.00
     4098        14/08/2015   1225/77    COR-099                                             $3,127.00                $3,127.00
     4100        14/08/2015   1225/79    COR-102                                             $3,127.00                $3,127.00
     4101        14/08/2015   1225/80    COR-112                                             $3.127.00                $3,127.00
     4108        14/08/2015   1225/78    COR-101                                             $3,127.00                $3,127.00
     4111        23/08/2015   1225/24    COR-019                                             $3,717.00                $3,717.00
     4128        06/09/2015   1225/83    COR-093                                             $3,127.00                $3,127.00
     4129        06/09/2015   1225/84    COR-107                                             $3,127.00                $3,127.00
     4137        13/09/2015   1225/10    COR-027                                             $3,717.00                $3,717.00
     4150        25/09/2015   1225/92    COR-123                                             $3,127.00                $3,127.00
     4172        14/10/2015   1225/34    COR-045                                             $3,685.50                $3,685.50
     4176        14/10/2015   1225/26    COR-025                                             $4,387.50                $4.387.50
     4194        29/10/2015   1225/90    COR-116                                             $3.685.50                $3.685.50
     4205        24/11/2015   1225/93    COR-122                                             $3,100.50                $3,100.50
     4206        24/11/2015   1225/16    COR-040                                             $3,685.50                $.3.685.50
     4234        20/12/2015   1225/94    COR-124                                             $3.100.50                $3,100.50
     4237        20/12/2015   1225/95    COR-125                                             $3,100.50                $3,100.50
     4240        20/12/2015   1225/96    COR-120                                             $3,230.50                $3,230.50
                                                                                Total in $   $74,087.00   $1,590.63   $72,496.37


    E&OE

    If the above bills have already been paid in the meanwhile, please update our office.

                                                        Sincerely,
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                                  Annex 10
        A copy of Mr. Avital’s email dated March 9, 2016.
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Case 2:19-cv-00429-ES-CLW Document 58-4 Filed 05/28/21 Page 137 of 416 PageID: 1485



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                                  Annex 11
      A copy of Adv. Agassi’s response email dated March
          10, 2016, together with the amended version.
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                                  Annex 12
              The correspondence dated April 5, 2016.
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                                  Annex 13
     Correspondence between Ms. Kishoni and Adv. Agassi,
      including the 2016 Agreement signed in the name of
                          Mr. Avital.
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                                  Annex 14
                           Cortica’s option plan.
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        Correspondence dated July 2, 2014, on transferring
                  from the MW Firm to M&B.
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     A copy of the correspondence on the budget, as well as
      a plan at the amount of USD 236,000 dated February
                            16, 2017.
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       List of invoices, January 11, 2017 - March 22, 2017,
         and correspondence accompanying these details.
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        Updated budget proposal dated April 5, 2017, and
               correspondence accompanying it.
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                correspondence accompanying it.
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                  Correspondence dated July 7, 2017.
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      Correspondence on disagreements on payments in the
             period from January to March, 2018.
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       [English]

       Subject: Re: Bank transfer to your account

       Hi Reuven,

       You must discuss this matter directly with Asher.

       Thank you,

       Liron

       [English]
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      [English]

      Subject: Re: Bank transfer to your account

      Attached hereto is the detailed file, according to my records we paid everything up to the end of
      October.

      Please send a tax invoice for the attached payment.

      [English]

      Thank you for notifying. I will appreciate it if you can also send the transaction accounts’ numbers so
      that we can credit accordingly one-to-one.

      Sincerely,

      Reuven

      [English]

      Subject: Bank transfer to your account

      Hi Or,

      Today a payment was transferred to your account for the transaction invoices for March-October 2017,
      at the amount of USD 78,343.

      Please update me if you need the invoice numbers.

      Thank you,

      Liron
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                Reports for example from 2015, 2016.
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         The correspondence with Mr. Sommers on patent
                       commercialization.
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     Correspondence between Mr. Odinaev and Adv. Agassi
                on the February 2018 Report.
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